Case 1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 1 of 70




                         Exhibit B
                         Redacted
                         Complaint
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                 5   1:23-cv-04774-PAE    Document 1-2   Filed 06/06/23   Page 2 ofNYSCEF:
                                                                          RECEIVED  70     06/01/2023




                                         Exhibit A
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                  INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE           Document 1-2         Filed 06/06/23      Page 3 of NYSCEF:
                                                                                          RECEIVED  70      06/01/2023




              SUPREME COURT OF THE STATE OF NEW YORK
              COUNTY OF NEW YORK


               CARLYLE AVIATION MANAGEMENT LIMITED,
               ACCIPITER INVESTMENTS AIRCRAFT 4 LIMITED,                       Index No.:
               VERMILLION AVIATION (TWO) LIMITED,
               ACCIPITER HOLDINGS DAC, MAVERICK
               AVIATION HOLDINGS LTD., MANCHESTER                              COMPLAINT
               AVIATION FINANCES.a r.l., WELLS FARGO
               TRUST COMPANY, N.A., not in its individual capacity             JURY TRIAL DEMANDED
               but solely in its capacity as OWNER TRUSTEE, UMB
               BANK, N.A., not in its individual capacity but solely in
               its capacity as OWNER TRUSTEE,

                                  Plaintiffs,

               V.

               FRONTIER AIRLINES, INC.,

                                  Defendant.


                     Plaintiffs Carlyle Aviation Management Limited ("CAML"), Accipiter Investments

              Aircraft 4 Limited ("Accipiter"), Vermillion Aviation (Two) Limited ("Vermillion"), Accipiter

              Holdings DAC ("Accipiter Holdings"), Maverick Aviation Holdings Ltd. ("Maverick"),

              Manchester Aviation Finance S.a r.l. ("Manchester"), Wells Fargo Trust Company, N.A., not in

              its individual capacity but solely in its capacity as Owner Trustee (" Wells Fargo"), and UMB Bank,

              N.A., not in its individual capacity but solely in its capacity as Owner Trustee ("UMB"), bring this

              Complaint against Defendant Frontier Airlines, Inc. ("Defendant" or "Frontier") for Defendant's

              breaches of multiple contracts and tortious interference with one or more Plaintiffs' prospective

              business advantage, and hereby allege as follows:
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                      INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE             Document 1-2         Filed 06/06/23       Page 4 of NYSCEF:
                                                                                             RECEIVED  70      06/01/2023




                                                PRELIMINARY STATEMENT

                      1.   Defendant is a commercial airline that leases 1O passenger aircraft, among others, that

              it uses in its business from certain of the Plaintiffs for which CAML acts as Servicer. Plaintiffs

              are the beneficial owners and lessors of those aircraft, as well as certain of their affiliates.

                      2.   Plaintiffs and Defendant are parties to two litigations that are pending in the United

              States District Court for the Southern District of New York ("SDNY"), captioned Frontier

              Airlines, Inc. v. AMCK Aviation Holdings, No. 20-cv-09713-LLS, filed by Defendant on

              November 18, 2020 (the ''2020 Litigation"), and Frontier Airlines, Inc. v. AMCK Aviation

              Holdings, No. 22-cv-02943-PAE, filed by Defendant on April 8, 2022 (the "2022 Litigation", and

              together with the 2020 Litigation, the "SDNY Litigations").

                      3. Despite the litigation between the parties, they have an ongoing business relationship.

              Indeed, in recognition of the need to work together cooperatively even in the midst of pending

              litigation, in October 2022, Plaintiffs and Defendant, at Defendant's request, entered into a Non-

              Waiver and Preservation of Rights Agreement (the "Non-Waiver A2reement"). The Non-Waiver

              Agreement obligated the parties to "continue to cooperate in good faith regarding" a number of

              specified matters, which the agreement defines as "Lease Administration Activities."

                      4. In addition, the aircraft Leases (defined below) each requires Defendant to cooperate

              with certain Plaintiffs on a range of different activities.

                      5.   Specifically, Section 20.2(a) of each of the Leases states that "[e]ach of Lessor [i.e.,

              UMB or Wells Fargo] and Owner Participant [i.e., Accipiter or Vermillion] (and any subsequent

              permitted assignee or transferee) shall have the right at any time . . . to transfer ownership or

              beneficial ownership, as applicable, of the Aircraft," among other things. And, to ensure that




                                                               -2-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                        INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE                 Document 1-2        Filed 06/06/23       Page 5 of NYSCEF:
                                                                                                RECEIVED  70      06/01/2023




              Lessor and Owner Participant could accomplish their respective contractual obligations, they

              specifically bargained for an obligation for Frontier to cooperate with such transfer.

                          6.    Section 20.2(b) of the Leases states that "Lessee [i.e., Frontier] shall comply with all

              reasonable requests of Lessor or Owner Participant, and at the expense of Lessor, to cooperate in

              effecting" any "transfer, novation, assignment, mortgage, grant or other disposition referred to in

              paragraph (a) above and will execute any and all consents, agreements, amendments or other

              instruments ... in form and substance reasonably satisfactory to Lessee .... "

                          7.    Sections 20.2(a) and 20.2(b) of the Leases do not create an exception for Frontier's

              obligations to further their positions in another litigation.

                          8.    Rather than comply with its obligations under the Non-Waiver Agreement and the

              Leases, Frontier has engaged in serial and ongoing breaches of their obligations, in an attempt to

              gain leverage over Plaintiffs and force a settlement of the SDNY Litigations.

                          9.    As detailed below, Plaintiffs have made repeated requests for Frontier to cooperate

              with certain Plaintiffs' attempts to sell certain aircraft and refinance others. All of Plaintiffs'

              contractual requests are industry standard, which any counterparty acting in good faith would

              comply with. But Frontier has unreasonably and unjustifiably withheld its consent.

                          10. To take one example, Plaintiffs have requested that Frontier consent to a security

              assignment for each of the aircraft and a lease assignment for certain of the aircraft. These security

              assignments and lease assignments have no impact on Frontier's operations or interest in the

              aircraft. It would simply make it possible for certain Plaintiffs to sell or refinance the relevant

              aircraft.        Such consents are granted as a matter of ordinary course in order to facilitate the

              widespread financing of the airline industry. But rather than grant the straightforward request,

              Frontier instead demanded that Plaintiffs include language in the security assignment




                                                                   -3-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                        INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE              Document 1-2          Filed 06/06/23        Page 6 of NYSCEF:
                                                                                                RECEIVED  70      06/01/2023




              documentation subordinating the financier's security interests in the aircraft to Frontier's

              unsecure,1 claims in the SDNY Litigations, and subsequently demanded that Plaintiffs provide

              Frontier with either (i) a $60 million letter of credit for Frontier's benefit or (ii) a first lien mortgage

              against three of the aircraft selected by Frontier, to be perfected with filings on the International

              Registry and the Federal Aviation Administration's registry. This request is not just totally off-

              market; it is nonsensical. Virtually all of the monetary obligations under the Leases run from

              Frontier to Plaintiffs. In other words, Frontier is, in effect, the "borrower" under the leases and

              Plaintiffs are the "lenders." Frontier's request is akin to a homeowner demanding that his or her

              bank post a letter of credit to secure the bank's obligations under a mortgage. This is just one

              unreasonable request among many, the effect of which has been to prevent Plaintiffs from selling

              or refinancing their aircraft and, as explained below, has damaged Plaintiffs by approximately.



                      11. Accordingly, Plaintiffs have been forced to file this action for breach of contract and

              tortious inference of prospective business advantage.

                                                          THE PARTIES

                      12. Plaintiff Wells Fargo, not in its individual capacity but solely in its capacity as Owner

              Trustee under the Leases, is a national banking association with its designated main office in

              Ogden, Utah.

                      13. PlaintiffUMB, not in its individual capacity but solely in its capacity as Owner Trustee

              under the Leases, is a national banking association headquartered in Kansas City, Missouri.

                      14. Plaintiff Accipiter, Owner Participant for nine of the Leases and Guarantor for certain

              of those transactions, is a company incorporated under the laws of Ireland.

                      15. Plaintiff Vermillion, Owner Participant for one of the Leases, 1s a company




                                                                 -4-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                 INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE            Document 1-2       Filed 06/06/23      Page 7 of NYSCEF:
                                                                                         RECEIVED  70      06/01/2023




              incorporated under the laws of Ireland.

                      16. Plaintiff Accipiter Holdings, Guarantor for the other certain transactions involving

              Accipiter, is a company incorporated under the laws of Ireland.

                      17. Plaintiff Maverick is a company incorporated under the laws of the Cayman Islands.

              Maverick was established by non-party Maverick Aviation Partnership LP, which is incorporated

              under the laws of Canada. Maverick indirectly owns Accipiter and Vermillion.

                      18. Plaintiff Manchester is a company incorporated under the laws of Luxembourg.

              Manchester is wholly owned by Maverick.

                      19. Plaintiff CAML is a company organized and existing under the laws of Bermuda with

              its principal place of business in Dublin, Ireland.

                      20. Defendant is a corporation organized and existing under the laws of Colorado with its

              principal place of business in Denver, Colorado.

                                               JURISDICTION AND VENUE

                     21. The New York Civil Practice Law and Rules ("CPLR") Section 3033(1) permits

              jurisdiction over a non-domiciliary defendant pursuant to the parties' consent in a written, valid

              contract.

                     22. CPLR Section 501 permits contractual provisions fixing venue.

                     23. Pursuant to Section 20.15 of the Leases, Frontier has submitted to the jurisdiction of

              this Court for "any suit, action or proceedings relating to" that agreement "or any matter between

              the parties arising under or in connection with" that agreement. Frontier also waived any objection

              to venue in this Court.




                                                              -5-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                 INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE            Document 1-2        Filed 06/06/23      Page 8 of NYSCEF:
                                                                                          RECEIVED  70      06/01/2023




                                                 FACTUAL BACKGROUND

                  I.       THE LEASES

                       24. Defendant is a party to individual lease agreements for ten Airbus A320 aircraft (the

              "Leases"). 1 One Aircraft Lease Agreement, between UMB and Frontier, executed on March 16,

              2020, with the aircraft bearing manufacturer' s serial number 10038, is attached hereto as Exhibit

              1 and is an excerpted example of the Leases. The ten Leases all contain substantially similar terms

              and the same format.

                       25. The counterparty in each Lease is either UMB or Wells Fargo, acting not in each of

              their individual capacities but solely as the "Owner Trustees" under the terms of a related trust

              agreement. Each Lease was signed by Frontier as the "Lessee" and either UMB or Wells Fargo as

              the "Lessor."

                       26. Under each Lease, the Lessor acts for the beneficial owner of the aircraft, known as

              the "Owner Participant."

                       27. Accipiter is the Owner Participant for nine of the Leases, and Vermillion is the Owner

              Participant for one Lease.

                       28. At the time the Leases were entered, Accipiter and Vermillion were affiliates of

              AMCK Aviation Holdings Ireland Limited ("AMCK Holdings" or "AMCK").

                       29. The Owner Trustee (UMB or Wells Fargo) legally owns the aircraft, whereas the

              Owner Participant (Accipiter or Vermillion) is the beneficial owner of the aircraft. The Owner

              Trustee is also the Lessor, who leases the aircraft to Frontier to use as Lessee. The Servicer

              (CAML) (described below) manages the sale, lease, and financing of the aircraft.



              1
               Those Leases are for the aircraft bearing the following manufacturer's serial numbers: 8102,
              8239,8357,8307,8402,8913,8977,9068,9177, 10038.



                                                             -6-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                      INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE             Document 1-2          Filed 06/06/23         Page 9 of NYSCEF:
                                                                                                RECEIVED  70      06/01/2023




                      30. The Lease has language that allows for the transfer of ownership of the aircraft

              pursuant to certain conditions. These provisions (cited below) govern transfers by the Lessors

              (UMB or Wells Fargo) or Owner Participants (Accipiter or Vermillion).

                      31. Section 20.2(a) of each of the Leases states that

                      Each of Lessor and Owner Participant (and any subsequent permitted assignee or
                      transferee) shall have the right at any time, at its own expense and upon prior written
                      notice to Lessee, to transfer ownership or beneficial ownership, as applicable, of
                      the Aircraft, or to assign (including to assign as security), mortgage, novate,
                      transfer, grant participations in, or otherwise dispose of its rights and obligations
                      under this Agreement and the other Operative Documents, to any other person by
                      outright transfer or assignment or collateral assignment or by operation of law and
                      Lessee hereby consents to any such transfer or assignment; provided that .... (i)
                      Lessee shall have no greater financial obligation or liability under this Agreement
                      and the other Lessee Documents as a result of such transfer based on the facts and
                      circumstances existing and applicable laws in effect at the time of such transfer,
                      than it would have had if such transfer had not taken place .... (iii) in the case of
                      a sale of the Aircraft by Lessor or transfer of the beneficial interest of Owner
                      Participant in the Aircraft or a transfer (other than to an Affiliate of the Lessor
                      Guarantor) of a controlling interest in the Owner Participant, any such assignee or
                      transferee shall be a Permitted Transferee and shall unconditionally guaranty the
                      obligations of Lessor under this Agreement pursuant to a Guarantee in form
                      substantially similar to the Guarantee executed by Owner Participant in favor of
                      Lessee unless the existing Lessor Guarantee will remain in full force and effect
                      following such transfer. ...

              (Ex. I § 20.2(a).)

                      32. Section 20.2(b) of the Leases states that "Lessee [i.e., Frontier] shall comply with all

              reasonable requests of Lessor or Owner Participant, and at the expense of Lessor, to cooperate in

              effecting" any "transfer, novation, assignment, mortgage, grant or other disposition referred to in

              paragraph (a) above and will execute any and all consents, agreements, amendments or other

              instruments ... in form and substance reasonably satisfactory to Lessee .... " (Ex. I § 20.2(b).)

                      33 . Sections 20.2(a) and 20.2(b) of the Leases do not create an exception for Frontier's

              obligations to further their positions in another litigation. In other words, the Leases do not have

              any terms giving Frontier the right to perfect its interests in any litigation.




                                                                -7-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                    INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                Document 1-2       Filed 06/06/23      Page 10 ofNYSCEF:
                                                                                            RECEIVED   70     06/01/2023




                           34. Four of the aircraft are subject to purchase agreements executed between certain

              Plaintiffs and third-party purchasers, pursuant to which a third-party purchaser has agreed to

              purchase the aircraft.

                           35. All of the aircraft are subject to financing agreements executed between certain

              Plaintiffs and third-party financiers, pursuant to which the financier has agreed to finance the

              aircraft pursuant to a temporary financing. In addition, six of the aircraft (including one of the

              aircraft subject to a purchase agreement) are subject to refinancing agreements executed between

              certain Plaintiffs and third-party fmanciers pursuant to a long-term financing.

                    II.       THE 2020 LITIGATION

                           36. On November 18, 2020, Frontier filed the 2020 Litigation. The 2020 Litigation named

              AMCK Holdings and certain Plaintiffs in this action, Accipiter, Vermillion, Wells Fargo, UMB,

              as defendants.

                           37. Frontier asserted claims for breach of contract, breach of implied duty of good faith

              and fair dealing, breach of the covenant of quiet enjoyment, promissory estoppel, and fraud, in

              connection with a Framework Agreement, entered into on March 15, 2020, by and between

              Frontier and AMCK Holdings. 2

                           38. Discovery has closed in the 2020 Litigation and the defendants' motions for summary

             judgment filed therein are currently pending before the court.

                    III.      THE CARLYLE/CK TRANSACTION

                           39. In December 2021, CK Asset Holdings Limited ("CK"), the then-current ultimate

              corporate parent and majority shareholder of AMCK Holdings, Accipiter and Vermillion,

              announced an agreement to sell its aircraft leasing business to Maverick. AMCK Holdings


              2
                  AMCK Holdings is not a party to the proceedings here.



                                                                 -8-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                  INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                 5   1:23-cv-04774-PAE          Document 1-2        Filed 06/06/23      Page 11 ofNYSCEF:
                                                                                        RECEIVED   70     06/01/2023




              transferred its ownership in numerous corporate entities-including Vermillion-to Manchester,

              and then transferred its ownership interest in Manchester to Vermillion Aviation Holdings Limited

              ("Vermillion Holdings").

                       40. In April 2022, Vermillion Holdings transferred Manchester and another company that

              was the shareholder of Accipiter Holdings to Maverick (the "Carlyle/CK Transaction").

                       41. On April 12, 2022, the Carlyle/CK Transaction closed.        As a result, the Owner

              Participants for the aircraft leased to Frontier were no longer indirectly owned by AMCK

              Holdings. Instead, they were indirectly owned by Maverick, and serviced by CAML.

                       42. The Carlyle/CK Transaction did not result in a change in the owner of any of the

              aircraft, which in each case remained the Wells Fargo or UMB, as applicable, and it did not result

              in a change in the Owner Participant or Guarantor of any Aircraft, which remained Vermillion,

              Accipiter or Accipiter Holdings, as applicable, and the Carlyle/CK Transaction did not change nor

              transfer the rights or obligations of any Lessor, Owner Participant or Guarantor.

                       43. Following the closing, CAML took on the role of Servicer under the Leases. On or

              about April 13, 2022, CAML provided Frontier with notices regarding this change.

                 IV.      THE 2022 LITIGATION

                       44. Days before the Carlyle/CK Transaction closed, Frontier filed the 2022 Litigation.

              Complaint, Frontier Airlines, Inc. v. AMCK Aviation Holdings, No. 22-cv-02943-PAE (S.D.N.Y.

              Apr. 8, 2022), ECF No. 1.      The 2022 Litigation named several Plaintiffs in this action as

              defendants, including Accipiter, Vermillion, Accipiter Holdings, Maverick, Manchester, Wells

              Fargo, and UMB. Frontier also named AMCK Holdings as a defendant.

                       45. On June 24, 2022, Frontier filed an amended complaint naming CAML as a defendant.

              Amended Complaint, Frontier Airlines, Inc. v. AMCK Aviation Holdings, No. 22-cv-02943-PAE




                                                             -9-
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                     INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE              Document 1-2         Filed 06/06/23      Page 12 ofNYSCEF:
                                                                                            RECEIVED   70     06/01/2023




              (S.D.N.Y. June 24, 2022), ECF No. 21 .

                        46. On September 16, 2022, Frontier filed a second amended complaint, adding

              Vermillion Holdings as a defendant. The second amended complaint contains claims of breach of

              contract, declaratory relief, and voidable transfer. Second Amended Complaint, Frontier Airlines,

              Inc. v. AMCK Aviation Holdings, No. 22-cv-02943-PAE (S.D.N.Y. Sept. 16, 2022), ECF No. 35.

              No other operators transacting with the Plaintiffs have filed a lawsuit against Plaintiffs with similar

              claims.

                        47. On October 7, 2022, several defendants jointly moved to dismiss Frontier's second

              amended complaint. Defendants' Motion to Dismiss the Second Amended Complaint, Frontier

              Airlines, Inc. v. AMCK Aviation Holdings, No. 22-cv-02943-PAE (S.D.N.Y. Oct. 7, 2022), ECF

              No. 38. Defendant Vennillion Holdings filed a separate motion to dismiss on November 10, 2022,

              due to failure of service of process. Motion to Dismiss the Second Amended Complaint, Frontier

              Airlines, Inc. v. AMCK Aviation Holdings, No. 22-cv-02943-PAE (S.D.N.Y. Nov. 10, 2022), ECF

              No. 45. The defendants' motions to dismiss are currently pending before that court.

                  V.       THE NON-WAIVER ''COOPERATION" AGREEMENT

                        48. Despite the pendency oflitigation between certain Plaintiffs and Frontier, they still had

              business to conduct. At Frontier's request, in mid-2022, CAML began engaging with Frontier to

              facilitate ordinary course activities relating to the aircraft, including the sale or refinancing of the

              aircraft, leased by Frontier.

                        49. Sales and fmancings of aircraft are typical and ordinary course transactions, which

              have nothing to do with the litigations pending between the parties. Indeed, to make that clear,

              and to make clear that Plaintiffs were not trying to seek any advantage in a litigation, Plaintiffs

              agreed, at Frontier's request, to enter into an agreement that allowed the parties to continue




                                                               - 10 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                   INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE            Document 1-2            Filed 06/06/23    Page 13 ofNYSCEF:
                                                                                           RECEIVED   70     06/01/2023




              working together on commercial and sale operations, among other ordinary course matters,

              without prejudicing their litigation positions.

                      50. On October 21, 2022, Plaintiffs and Frontier executed the Non-Waiver Agreement.

                      51. In relevant part, the Non-Waiver Agreement states the following:

                     Despite the existence of the [2022 Litigation] and the parties' respective claims and
                     defenses asserted or potentially to be asserted therein, the Parties recognize the
                     mutual operational benefits to the Parties from cooperating with each other in good
                     faith regarding the day-to-day administration of the Lease Agreements and the
                     Aircraft, including, without limitation, paying and accepting rent, processing and
                     administering lease returns, Aircraft use reports, Aircraft registration renewals,
                     Aircraft and record inspections, insurance certificates, consents, lease amendments,
                     aircraft/lease financings, owner trustee and owner participant assignments and
                     Aircraft sales (and related transfers, notices and acknowledgments, replacement of
                     lessor guarantees, updated insurance certificates and matters ancillary thereto),
                     warranty and insurance claims, notices, and the like in accordance with the terms
                     of the Lease Agreements ("Lease Administration Activities"). Accordingly, the
                     Parties hereby confirm that they will continue to cooperate in good faith
                     regarding all Lease Administration Activities.

              (Non-Waiver Agreement, Paragraph 4, attached hereto as Exhibit 2 (emphasis added).)

                     52. As described below, however, Frontier has utterly failed to comply with its obligations

              under the Non-Waiver Agreement and the Leases.               Instead, Frontier has consistently been

              uncooperative and acted unreasonably and in bad faith for almost eight months in contravention

              of the Non-Waiver Agreement and the Leases. Plaintiffs made repeated requests for Frontier to

              cooperate with Plaintiffs' attempts to sell certain aircraft and refinance others, which Frontier was

              already obliged to do pursuant to the Leases and Non-Waiver Agreement. Frontier continued to

             be uncooperative, so Plaintiffs then offered a new guaranty, with a new guarantor worth hundreds

             of millions of dollars. This offer was made as an accommodation by Plaintiffs and was not required

             under the Leases. Instead of accepting Plaintiffs' offer, Frontier requested terms that are not

             market and are by no means industry standard-either (i) a letter of credit from CAML for

             Frontier's benefit or (ii) a first lien mortgage against three of the aircraft selected by Frontier-




                                                                - 11 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                      INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                 5   1:23-cv-04774-PAE            Document 1-2          Filed 06/06/23       Page 14 ofNYSCEF:
                                                                                             RECEIVED   70     06/01/2023




              despite Frontier not being a financier of any of the aircraft.

                  VI.      FRONTIER'S BREACHES

                        53. From mid-2022 through April 2023 , certain Plaintiffs have tried to engage with

              Frontier in good faith to negotiate various ordinary-course agreements in connection with

              refinancing or sales of the Aircraft, including security notices and acknowledgments, internal trust

              transfers, lease assignments, a guaranty, and a guaranty termination, in order to effectuate the sale

              and financing of the aircraft.

                        54. Plaintiffs have requested that Frontier consent to a security assignment and lease

              assignment for certain of the aircraft subject to the Leases in order for Plaintiffs to sell or refinance

              the aircraft. These security assignments and lease assignments have no impact on Frontier's

              operations or interest in the aircraft. Such consents are granted as a matter of ordinary course in

              the airline industry, including by major U.S. air carriers, and have been granted by Frontier. The

              Leases, as is standard for operating leases with commercial airlines, expressly contemplate that

              security assignments and lease assignments will occur and require Lessee ' s cooperation with

              documentation that may be required in connection with such security assignments and lease

              assignments.

                        55. In November and December 2022, Frontier and CAML sent multiple letters regarding

              CAML' s executed letters of intent to sell four leased aircraft, which CAML gave notice to Frontier

              of on November 16, 2022.

                           a. On November 23, 2022, Frontier indicated that the purported transfers could be

                              void pending the 2022 Litigation and made several requests for information

                              regarding the transfers.

                           b. On November 29, 2022, CAML provided responses to Frontier's requests for




                                                               - 12 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                   INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE           Document 1-2          Filed 06/06/23      Page 15 ofNYSCEF:
                                                                                          RECEIVED   70     06/01/2023




                             information, and CAML reminded Frontier that it agreed to cooperate in good faith

                             regarding the administration of the leases of the aircraft, including with sales and

                             financings, pursuant to the Non-Waiver Agreement.

                         c. On December 1, 2022, Frontier indicated that it was entitled to evaluate and assess

                             whether the transfers and security assignments will satisfy the transfer requirements

                             of the Lease Agreements.

                     56. From December 5 to December 9, 2022, CAML contacted Frontier several times for

              updates on the draft security notices and the lease assignment document. CAML would email

              Frontier eight more times for a copy of the draft lease assignment, which Frontier insisted on

              drafting itself based on a form it had prepared, but never entered into, with AMCK. CAML did

              not receive the draft lease assignment from Frontier until January 22, 2023.

                     57. Frontier has also insisted on including language related to the SONY Litigations in the

              security assignment notices and the lease assignment.

                     58. Frontier's proposed language in the security assignment notice is, in relevant part, as

              follows:

                     Each of the Lessor and the Security Trustee agrees, covenants, represents and
                     warrants for the benefit of the Lessee that the security assignment transaction
                     described hereunder (including any associated liens and encumbrances of Security
                     Trustee) complies with the applicable terms and conditions of Clause 20.2 of the
                     Lease and that pursuant to Clause 20.2(a)(ii) Lessee's rights, including but not
                     limited to Lessee's rights as plaintiff and a judgment creditor (as applicable) arising
                     from or in connection with the pending lawsuits filed in U.S. District Court for the
                     Southern District of New York as case numbers I :22-cv-02943 and 1:20-cv-09713,
                     including, without limitation, Lessee's right to collect and recover damages, shall
                     not be restricted or otherwise prejudiced as a result of such security assignment
                     transaction. Any prejudice to or loss of priority of Lessee' s rights and interests as
                     a judgement creditor as a result of the security assignment described herein shall be
                     deemed a restriction to the Lessee's rights under the Lease and other Lessee's
                     Documents. If any such restriction occurs, the Lessor and the Security Trustee shall
                     immediately upon the request of the Lessee subordinate any liens, security interests,
                     encumbrances and collection rights of the Security Trustee against property or




                                                             - 13 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                 INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE           Document 1-2         Filed 06/06/23     Page 16 ofNYSCEF:
                                                                                        RECEIVED   70     06/01/2023




                     assets, including, without limitation, against the Aircraft, the Lease Documents and
                     monies held pursuant the Lease Documents, to the judgment creditor rights of the
                     Lessee.

                    (Excerpt of Frontier's Security Assignment Redline received from Lane Powell via
              email on February 26, 2023, Paragraph 7, attached hereto as Exhibit 3.)

                      59. Frontier's proposed language in the lease assignment to UMB as the New Lessor is, in

              relevant part, as follows:

                     The purported transfer of the Aircraft and Lease (as such term is defined in
                     Schedules 1 and 2 hereto) contemplated hereunder is subsequent to the purported
                     sale of aircraft assets by CK Capital (Hong Kong) Limited and related entities to
                     New Owner Participant Parent Assignor and related transactions (the "Specified
                     Transaction"), which Specified Transaction was not consented to by Lessee and is
                     being challenged by Lessee as novations conducted in violation of Clause 20.2 of
                     the Lease and a fraudulent conveyance to prevent Lessee from collecting any
                     potential judgement under the Actions (as defined below). Prior to the Specified
                     Transaction, Lessee filed actions against Assignors, Existing Owner Participant,
                     and other affiliates to Existing Owner Participant for breach of contract, fraud and
                     other claims arising from the parties' dealings in connection with contracts among
                     the parties including the Lease and other "Operative Documents" (as such term is
                     defined in the Lease). As a result of these actions two cases are pending with the
                     U.S. District Court for the Southern District of New York (the "Court") under case
                     numbers 1:22-cv-02943 and 1:20-cv-09713 (collectively, the "Actions," each an
                     "Action").

                     (A). In the Action bearing case number 1:22-cv-02943, Lessee has sought
                     determinations that ( 1) Lessee was harmed by conduct by Assignor and other
                     defendants and (2) that the Specified Transaction constitutes a lessor default under
                     the Lease and other Operative Documents and with respect to the Specified
                     Transaction, Lessee intends to seek an order declaring such novation as void and
                     seek other available remedies. The named defendants in the Actions deny
                     wrongdoing. Lessee is entering into this Agreement as an accommodation to
                     Existing Owner Participant to facilitate daily operations of Lessor, but such
                     accommodations by Lessee are done without waiver of any rights, remedies or
                     contentions relating to the Actions, including, without limitation, Lessee's
                     challenge of the validity of the Specified Transaction, right to void the Specified
                     Transaction and right to recover damages from the defendants in the Actions.

                   (Excerpt of Frontier's Lease Assignment Redline received from Lane Powell via
             email on February 26, 2023, Background Section A, attached hereto as Exhibit 4.)




                                                            - 14 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                         INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                 5   1:23-cv-04774-PAE             Document 1-2           Filed 06/06/23        Page 17 ofNYSCEF:
                                                                                                RECEIVED   70     06/01/2023




                      60. Frontier's proposed language is unreasonable because, among other reasons, it (i)

              requires the Lessor to agree that the Leases provide Lessee certain rights or benefits that are not

              stated in the Leases, including that the Lessee has a right to a particular priority position as a

              creditor pursuant to the Lease and that the Leases provide that the Lessee's claims under the SDNY

              Litigation not be prejudiced, (ii) require the Lessor's financier's security interest in any of Lessor's

              assets to be subordinated to the Lessee's judgement creditor rights, and (iii) memorialize that

              Lessor defaulted under the Leases, which is inaccurate.

                      61. Although it was under no obligation to do so, to try to respond to Frontier's purported

              concerns, and in an effort to mitigate the parties' losses and to facilitate the closure of sales or

              financings, on March 24, 2023, CAML sent Frontier a guaranty proposal.

                      62. The Guarantor under each Lease is currently Accipiter Holdings, Accipiter, or

              Vermillion. As part of the guaranty proposal, CAML has offered additional security to Frontier

              pursuant to a new "Guaranty," by proposing that Maverick Aviation (Ireland) DAC, a subsidiary

              of Maverick Aviation Partnership LP, having a net worth of hundreds of millions of US dollars,

              provide a guaranty in favor of Frontier as to payment of amounts determined to be owed to Frontier

              in the SDNY Litigations by a defendant that is a direct or indirect subsidiary of Maverick Aviation

              Partnership LP, pursuant to a final, non-appealable judgment.

                      63. After certain Plaintiffs and Frontier exchanged several proposals for the Guaranty,

              Frontier most recently sent a counterproposal on May 5, 2023. In Frontier's response, as opposed

              to granting Plaintiffs' straightforward request for a consent to a security assignment and lease

              assignment for certain of the aircraft, Frontier instead demanded that Plaintiffs provide Frontier

              with either (i) a $60 million letter of credit for Frontier's benefit, or (ii) a first lien mortgage against




                                                                 - 15 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                      INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                 5   1:23-cv-04774-PAE            Document 1-2          Filed 06/06/23      Page 18 ofNYSCEF:
                                                                                            RECEIVED   70     06/01/2023




              three of the aircraft selected by Frontier (which mortgages will be perfected with filings on the

              International Registry and the Federal Aviation Administration's registry).

                        64. All of the monetary obligations under the Leases run from Frontier to Plaintiffs. In

              other words, Frontier is, in effect, the "borrower" under the leases and Plaintiffs are the "lenders".

              Frontier's request is akin to a homeowner demanding that his or her bank post a letter of credit to

              secure the bank's obligations under a mortgage, which is unreasonable.

                        65. Frontier's constant stall tactics and unreasonable requests have caused Plaintiffs to

              suffer damages because certain Plaintiffs have been unable to move forward with the sale of the

              four aircraft for a combined total of approximately                    , from which Plaintiffs would

              make a profit of approximately                . Moreover, Plaintiffs have incurred millions of dollars

              in expenses that they would have avoided if they had been able to sell the aircraft months ago.

                        66. Frontier's tactics have also prevented certain Plaintiffs from closing on several

              refinancings of six aircraft from which Plaintiffs would have obtained equity proceeds of

              approximately ·              , and would have stopped incurring certain other expenses.

                        67. CAML, as Servicer, sent a letter, dated April 27, 2023, to Frontier detailing Frontier's

              multiple breaches of the Leases, and attaching notices previously sent to Frontier informing

              Frontier of the certain contemplated transactions regarding the aircraft (the "April 27 Letter").

                        68. On May 3, 2023, Fro~tier sent a letter to CAML responding to the April 27 letter. In

              that letter, Frontier not only continued to refuse Plaintiffs' reasonable requests, but also incorrectly

              asserted, among other things, that CAML refuses to provide a guarantee for the proposed transfer.

              As a result, on May 26, 2023, Plaintiffs issued notices of default to Frontier under the relevant

              Leases.




                                                               - 16 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                   INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                5    1:23-cv-04774-PAE           Document 1-2          Filed 06/06/23     Page 19 of NYSCEF:
                                                                                           RECEIVED  70      06/01/2023




                                              FIRST CLAIM FOR RELIEF
                                        (BREACH OF CONTRACT OF THE LEASES)

                      69. Plaintiffs repeat and reallege each allegation in paragraphs I through 68 above as if

              fully set forth herein.

                      70. The Leases are binding agreements.

                      71. Plaintiffs have fulfilled their obligations under the Leases.

                      72. Pursuant to Section 20.2(b) of the Leases, Defendant must cooperate in effecting any

              transfers of ownership of the aircraft and in refinancing the aircraft.

                      73. Defendant has breached its obligations under the Leases by acting unreasonably and

              in bad faith in the negotiations of transactions with Plaintiffs.

                      74. Defendant has therefore breached the Leases.

                      75. Defendant's breaches, which have prevented Plaintiffs from selling or refinancing the

              aircraft have harmed Plaintiffs in the form of additional interest and other amounts Plaintiffs have

              had to pay, as well as the proceeds that would have been realized from the sale of the aircraft.

                                      SECOND CLAIM FOR RELIEF
                         (BREACH OF CONTRACT OF THE NON-WAIVER AGREEMENT)

                      76. Plaintiffs repeat and reallege each allegation in paragraphs 1 through 75 above as if

              fully set forth herein.

                      77. The Non-Waiver Agreement, requested by Defendant, is a binding agreement.

                      78. Plaintiffs have fulfilled their obligations under the Non-Waiver Agreement.

                      79. Pursuant to Paragraph 4 of the Non-Waiver Agreement, Defendant is required to

              cooperate with Plaintiffs in good faith in administering the Leases.

                      80. Defendant has defaulted on its obligations under the Non-Waiver Agreement.

                      81. Defendant has at every opportunity wrongfully stalled negotiations or made




                                                              - 17 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                      INDEX NO. 652599/2023
NYSCEF DOC. NO. Case
                 5   1:23-cv-04774-PAE            Document 1-2          Filed 06/06/23       Page 20 ofNYSCEF:
                                                                                             RECEIVED   70     06/01/2023




              unreasonable requests with respect to the transactions and has thus failed to cooperate in good faith

              pursuant to the Non-Waiver Agreement.

                       82. Defendant therefore has breached the Non-Waiver Agreement.

                       83. Defendant's breaches, which have prevented Plaintiffs from selling or refinancing the

              aircraft have harmed Plaintiffs in the form of additional interest and other amounts Plaintiffs have

              had to pay, as well as the proceeds that would have been realized from the sale of the aircraft.

                                   THIRD CLAIM FOR RELIEF
                (TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE)

                       84. Plaintiffs repeat and reallege each allegation in paragraphs I through 83 above as if

              fully set forth herein.

                       85. Certain Plaintiffs have signed sales contracts with third parties to sell certain aircraft.

              But to complete those sales, Defendant is required to provide certain consents, which are discussed

              above.

                       86. Defendant has interfered with this transaction by wrongfully withholding consent so

              as to apply pressure on Plaintiffs in connection with the SDNY Litigation, and in an attempt to

              extract a favorable settlement from Plaintiffs and CK.

                       87. Defendant's breaches, which have prevented certain Plaintiffs from selling or

              refinancing the aircraft, have harmed Plaintiffs in the form of additional interest and other amounts

              Plaintiffs have had to pay, as well as the proceeds that would have been realized from the sale of

              the aircraft.

                                                    PRAYER FOR RELIEF

              WHEREFORE, Plaintiffs are entitled to judgment as against Defendant:

                       (i)    that Defendant breached the Leases and the Non-Waiver Agreement;

                       (ii)   that Defendant tortiously interfered with Plaintiffs' prospective economic




                                                               - 18 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                               INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE         Document 1-2         Filed 06/06/23      Page 21 ofNYSCEF:
                                                                                       RECEIVED   70     06/01/2023




                            advantage;

                    (iii)   ordering Defendant to pay Plaintiffs damages for breaches of the Leases and the

                            Non-Waiver Agreement in an amount to be determined at trial, but in an amount

                            no less than            with pre- and post-judgment interest thereon;

                    (iv)    entering an order enjoining Defendants from further breaches of the Leases and the

                            Non-Waiver Agreement;

                    (v)     an award of punitive damages against Defendant;

                    (vi)    an award of Plaintiffs reasonable attorneys' fees, costs, and disbursements in this

                            action; and

                    (vii)   awarding any other and further relief that the Court deems just and proper.



              Dated: May 26, 2023
                     New York, New York



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                                                            Attorneys for Plaintiffs




                                                          - 19 -
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 22 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023




                                    Exhibit 1
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                           INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE     Document 1-2   Filed 06/06/23 RECEIVED
                                                                       Page 23 NYSCEF:
                                                                               of 70   06/01/2023

                                                                 EXECUTION VERSION




                                      UMB BANK, N.A.,
              NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS OWNER TRUSTEE,
                                        AS LESSOR

                                               AND

                                      FRONTIER AIRLINES, INC.,
                                            AS LESSEE




                                 AIRCRAFT LEASE AGREEMENT

                            LEASE OF ONE AIRBUS MODEL A320-251N
                         AIRCRAFT, MANUFACTURER'S SERIAL NO: 10038
                         UNITED STATES REGISTRATION MARK: N370FR
                              MAKE AND MODEL OF ENGINES: CFM
                            INTERNATIONAL, INC. MODEL LEAP-1A26
                        SERIAL NUMBERS OF ENGINES: 599709 AND 599720




         COUNTERPART NO. ___ OF SIX (6) CONSECUTIVELY NUMBERED, MANUALLY
         EXECUTED COUNTERPARTS. TO THE EXTENT THAT THIS AIRCRAFT LEASE
         AGREEMENT CONSTITUTES CHATTEL PAPER UNDER THE UNIFORM
         COMMERCIAL CODE IN THE UNITED STATES OF AMERICA OR ANY
         CORRESPONDING LAW IN ANY FOREIGN JURISDICTION, NO SECURITY
         INTEREST IN THIS AIRCRAFT LEASE AGREEMENT MAY BE CREATED THROUGH
         THE TRANSFER OR POSSESSION OF ANY COUNTERPART HERETO OTHER THAN
         COUNTERPART NO. 1.
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                                                  INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                            Document 1-2                 Filed 06/06/23 RECEIVED
                                                                                                            Page 24 NYSCEF:
                                                                                                                    of 70   06/01/2023




                                                                     CONTENTS

          Clause                                                                                                                              Page

         1.      Definitions and Interpretation ........................................................................................... 1
         2.      Representations and Warranties ...................................................................................... 18
         3.      Conditions Precedent ....................................................................................................... 22
         4.      Commencement ............................................................................................................... 28
         5.      Disclaimers ...................................................................................................................... 30
         6.      Rent and Other Payments ................................................................................................ 32
         7.      Fees and Expenses ........................................................................................................... 37
         8.      General Undertakings ...................................................................................................... 37
         9.      Operational Undertakings................................................................................................ 39
         10. Maintenance and Repair .................................................................................................. 48
         11. Engines ............................................................................................................................ 56
         12. Title ................................................................................................................................. 60
         13. Manufacturer's Warranties .............................................................................................. 60
         14. Insurances ........................................................................................................................ 61
         15. Loss, Damage and Requisition ........................................................................................ 69
         16. Default ............................................................................................................................. 71
         17. Payments on Event of Default ......................................................................................... 78
         18. Redelivery ....................................................................................................................... 81
         19. Indemnities ...................................................................................................................... 85
         20. Further Provisions ........................................................................................................... 94


         SCHEDULES

         Schedule 1 Aircraft Description..................................................................................... Sch. 1-1
         Schedule 2 Lease Agreement Supplement No. 1 ........................................................... Sch. 2-1
         Schedule 3 Officer's Certificate ..................................................................................... Sch. 3-1
         Schedule 4 Redelivery Condition .................................................................................. Sch. 4-1
         Schedule 5 Maintenance Status Report.......................................................................... Sch. 5-1
         Schedule 6 Basic Rent and Other Terms ....................................................................... Sch. 6-1
         Schedule 7 Form of Irrevocable Letter of Credit ........................................................... Sch. 7-1
         Schedule 8 Maintenance Payments ................................................................................ Sch. 8-1
         Schedule 9 Form of Quiet Enjoyment Letter ................................................................. Sch. 9-1
         Schedule 10 Form of Return Acceptance Certificate .................................................. Sch. 10-1
         Schedule 11 Form of Acceptance Certificate .............................................................. Sch. 11-1




          764623-4-294-v3.0                                                  -i-                                                       80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                          INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE         Document 1-2        Filed 06/06/23 RECEIVED
                                                                                Page 25 NYSCEF:
                                                                                        of 70   06/01/2023




                                                                       16 day of
         THIS AIRCRAFT LEASE AGREEMENT (this "Agreement") is made this __
         March, 2020.

         BETWEEN:

         (1)   UMB BANK, N.A., a national banking association organized under the laws of the
               United States of America having its principal office at 6550 S. Millrock Drive, Suite
               150, Salt Lake City, UT 84121, not in its individual capacity but solely as owner trustee
               under the Trust Agreement (the "Lessor"); and

         (2)   FRONTIER AIRLINES, INC., a corporation under the laws of the State of Colorado
               having its principal place of business at 4545 Airport Way, Denver, Colorado 80239,
               United States of America (the "Lessee").

         IT IS AGREED as follows:

         1.    DEFINITIONS AND INTERPRETATION

         1.1   Definitions

               In this Agreement the following words and expressions have, except where the context
               otherwise requires, the following meanings:

               "6Y Check" means the structural inspection of the Aircraft as defined by the latest
               revisions of the Maintenance Program, and which shall include but will not be limited
               to (i) the 6-year or equivalent Zonal, Structural and Systems/Powerplant/APU
               Inspection Program tasks, (ii) the relevant C-Check and lower checks, (iii) any CPCP
               tasks falling due at that interval and (iv) all Supplementary Structural Inspection (SSI)
               items.

               "12Y Check" means the structural inspection of the Aircraft as defined by the latest
               revisions of the Maintenance Program, and which shall include but will not be limited
               to (a) the 12-year or equivalent Zonal, Structural and Systems/Powerplant/APU
               Inspection Program tasks; (b) the relevant C-Check and lower checks; (c) any CPCP
               tasks falling due at that interval; and (d) all Supplementary Structural Inspection (SSI)
               items.

               "Acceptance Certificate" means the acceptance certificate substantially in the form set
               out in Schedule 11.

               "Additional Insured" has the meaning specified in Section 14.5(b)(i).

               "Affiliate" means, in respect of any person, any person directly or indirectly controlling,
               controlled by, or under common control with such first person or within the same
               corporate group as such first person; and a person shall be deemed to control another
               person if such first person possesses, directly or indirectly, the power to direct or cause
               the direction of the management and policies of such other person, whether through the
               ownership of voting securities, contract or otherwise.

               "After-Tax Basis" means, in respect of an amount (the "base amount") with respect
               to a person, the base amount supplemented by a future payment (the "additional
               amount"), if necessary, to such person such that, after the sum of the base amount and
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                             INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE            Document 1-2        Filed 06/06/23 RECEIVED
                                                                                   Page 26 NYSCEF:
                                                                                           of 70   06/01/2023




                  the additional amount is reduced for all Taxes, if any, imposed on such person in respect
                  of the sum of the base amount and the additional amount, the resulting amount shall be
                  equal to the original base amount.

                  "Agreed Value" means the amount specified in Schedule 6.

                  "Agreement" means this Aircraft Lease Agreement and the Schedules hereto.

                  "Aircraft" means (a) the aircraft described in Part A of Schedule 1, including the
                  Airframe, the Engines, the APU and all Parts installed in or on the Airframe at Delivery
                  and all BFE; (b) all substituted and/or replacement Parts at any particular time installed
                  in or on such aircraft; (c) any Parts installed in or on the Airframe following Delivery
                  which have become the property of Lessor pursuant to this Agreement or a Lessee's
                  Document; and (d) the Aircraft Documents; including, in the case of (a), (b) and (c),
                  any Part which is for the time being detached from such aircraft but remains the
                  property of Lessor pursuant to this Agreement.

                  "Aircraft Documents" means all of the documentation set forth or referred to in Part
                  B of Schedule 1 and as may be supplemented from time to time, including on the
                  Delivery Date (as set out in Annex 2 to Lease Supplement No. 1) and at redelivery of
                  the Aircraft (as set out in Annex 2 to the Return Acceptance Certificate), and all
                  technical data, manuals supplied by the Manufacturer or any other manufacturer or
                  supplier (including, but not limited to, any updated or revised manuals), logs, records
                  (including all historical records), computer data media and other materials and
                  documents kept by Lessee or for the benefit of Lessee by any third party after Delivery
                  or required to be kept with respect to the Aircraft or any part thereof whether in
                  compliance with any applicable law or this Agreement or any requirement for the time
                  being of the Aviation Authority or otherwise.

                  "Aircraft 6Y Maintenance Payment Rate" means the amount specified in Schedule
                  6.

                  "Aircraft 12Y Maintenance Payment Rate" means the amount specified in Schedule
                  6.

                  "Airframe" means the Aircraft, excluding the Engines, the APU and the Aircraft
                  Documents.

                  "Airframe Warranties Agreement" means the Airframe Warranties Agreement, dated
                  as of the Delivery Date, entered into by the Manufacturer, together with the initial
                  notice thereunder specifying the Lessee as the "Initial Entitled Party" and specifying
                  the Lessor as the "Initial Controlling Party", together with each and every further notice
                  issued thereunder in accordance with the terms of such agreement, or such other
                  agreement relating to the Manufacturer's airframe warranties in respect of the Aircraft
                  entered into (or consented to, as the case may be) by the Lessor, the Lessee and the
                  Manufacturer.

                  "Airworthiness Directive" means an airworthiness directive issued by the FAA.

                  "Airworthiness Directive Threshold" means the amount set forth in Schedule 6.

                  "AMCK Aviation" means AMCK Aviation Holdings Ireland Limited.


          764623-4-294-v3.0                             -2-                                      80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                             INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE            Document 1-2        Filed 06/06/23 RECEIVED
                                                                                   Page 27 NYSCEF:
                                                                                           of 70   06/01/2023




                  "AMM" means the latest revision of the Manufacturer's Aircraft Maintenance Manual.

                  "Annual Adjustment Date" means the first day of the calendar month in which the
                  Delivery Date occurred.

                  "Approved Maintenance Performer" means any person qualifying as a FAR-145
                  Approved Maintenance Organization and, for the purposes of any Engine Performance
                  Restoration or Fan and/or LPT Module Performance Restoration, a person approved by
                  the Engine OEM.

                  "APU" means (a) the auxiliary power unit specified in Part A of Schedule 1 and (b) any
                  replacement APU unit installed on the Aircraft in accordance with Clause 10.4(d),
                  including any such auxiliary power unit which, having been removed from the Aircraft,
                  remains the property of Lessor pursuant to this Agreement.

                  "APU Cycle" means each cycle or part thereof elapsing from the moment at which the
                  APU commences operating until the APU is shut down, whether for aircraft operations
                  or testing.

                  "APU Hour" means each hour or part thereof elapsing from the moment at which the
                  APU commences operating until the time the APU is shut down, whether for aircraft
                  operations or testing.

                  "APU Maintenance Payment Rate" means the amount specified in Schedule 6.

                  "APU Overhaul" means a complete power section disassembly, inspection and repair
                  in accordance with the APU manufacturer's then current workscope planning guide
                  entailing a complete disassembly of the power section at a minimum.

                  "Assignment of Insurances" means the Assignment of Insurances, dated as of the
                  Delivery Date, between Lessor and Lessee together with the Notice and
                  Acknowledgment relating thereto and entered into among each of the foregoing persons
                  and acknowledged by Lessee's insurer or insurance broker, as the case may be.

                  "Aviation Authority" means the FAA and any successor thereto or other Government
                  Entity which shall have control or supervision of civil aviation in the State of
                  Registration or have jurisdiction over the registration, airworthiness or operation of, or
                  other matters relating to, the Aircraft.

                  "Back to Birth Traceability" means original documentary evidence specifying the part
                  number and the unique serial number, and providing a detailed full operational history
                  record acceptable to an EASA or FAA regulatory standard but in any event having the
                  following: (a) the Original Delivery Document where Original Delivery Document
                  means (i) for a part delivered new as a spare part, the manufacturer's airworthiness
                  document (FAA Form 8130-3 or EASA Form 1) showing the part number and serial
                  number; and (ii) for a part delivered new installed on an assembly, the manufacturer's
                  assembly bill of material listing showing part number, serial number, assembly serial
                  number and where relevant the as-delivered model and thrust rating; (b) a certified
                  removal/installation ('on/off') transaction history detailing an unbroken record of the
                  hours and cycles elapsed at each relevant thrust rating (for engine LLPs) from new up
                  to current; and (c) a statement from the previous operator disclosing whether or not it



          764623-4-294-v3.0                             -3-                                      80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                              INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE            Document 1-2         Filed 06/06/23 RECEIVED
                                                                                    Page 28 NYSCEF:
                                                                                            of 70   06/01/2023




                  was involved in any major incident or accident, exposed to over-temperature extreme
                  stress condition or immersed in salt water and whether or not it was obtained from any
                  government or military source.

                  "Bankruptcy Code" means Title 11 of the United States Code.

                  "Basic Rent" means all and any amounts payable under Clause 6.1(a).

                  "Basic Rent Payment Date" has the meaning specified in Schedule 6.

                  "BFE" means the buyer furnished equipment supplied or purchased by or on behalf of
                  the Lessee in respect of the Aircraft for installation by the Manufacturer pursuant to the
                  Purchase Agreement on or before the Delivery Date or by Lessee following the
                  Delivery Date, in each case as agreed by Lessor and/or the Servicer on behalf of the
                  Lessor on the one hand and Lessee on the other hand, it being agreed that such buyer
                  furnished equipment will include the buyer furnished equipment specified in Schedule
                  1.

                  "BFE Bill of Sale" means the bill of sale relating to the BFE to be executed by Lessee
                  in favor of Lessor on the Delivery Date.

                  "Break Costs" means any costs, expenses, losses, liabilities, premium or penalties
                  which the Lessor or the Owner Participant or any Affiliate of the Owner Participant is
                  required to pay in order to repay funds raised to finance or refinance the Lessor's
                  acquisition or ownership of the Aircraft or secured directly or indirectly by the Aircraft,
                  or in unwinding (or maintaining or continuing to make payments under) any swap,
                  hedge, cap, forward interest agreement or other financial instrument entered into in
                  whole or in part in connection with the leasing or financing or refinancing of the
                  Aircraft or secured by the Aircraft.

                  "Business Day" means (a) with respect to any requirement under the Lessee's
                  Documents for the Lessee to make payments in U.S. Dollars, a day other than Saturday
                  or Sunday, on which banks are open in the State of Colorado and the State of New York,
                  USA and (b) for all other matters, a day, other than a Saturday or Sunday, on which
                  banks are open in Dublin, Ireland, and the State of Colorado and the State of New York,
                  USA for the transaction of business of the nature required by this Agreement.

                  "Cape Town Convention" means, collectively, the official English language texts of
                  the Convention on International Interests in Mobile Equipment (the "Convention"), the
                  Protocol to the Convention on Matters Specific to Aircraft Equipment (the "Protocol")
                  both signed in Cape Town, South Africa on 16 November 2001 and the regulations and
                  procedures enacted by the Supervisory Authority of the International Registry
                  thereunder.

                  "C-Check" means a maintenance check on the Airframe under the Maintenance
                  Program consisting of full and complete zonal, systems and structural inspection checks,
                  all in accordance with the Maintenance Program, or if the Maintenance Program
                  permits such structural checks to be performed in phases, the performance of such
                  phases shall constitute a constitute a complete zonal, systems and structural block “C”
                  check, but in any event not including repairs arising as the result of operational or
                  maintenance mishandling or accidental damage, which will be sufficient to clear the



          764623-4-294-v3.0                              -4-                                      80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                              INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                Document 1-2     Filed 06/06/23 RECEIVED
                                                                                    Page 29 NYSCEF:
                                                                                            of 70   06/01/2023




                  Aircraft for the C-Check Interval, which on the date hereof is 7,500 Flight Hours, 4,250
                  Cycles and 24 months, as such figures may be increased in accordance with the
                  Maintenance Program.

                  "C-Check Interval" means the then current inspection intervals (or its equivalent in
                  the future) in the Maintenance Program without reference to the specific tasks
                  associated with such "Inspection Interval".

                  "Certificated Air Carrier" means any person (except the United States government)
                  that: (a) is a "citizen of the United States", as defined in Section 40102(a)(15)(c) of the
                  Title 49 of the United States Code and (b) holds both (i) a Certificate of Public
                  Convenience and Necessity issued under Section 41102 of Title 49 of the United States
                  Code by the Department of Transportation or predecessor or successor agency thereto,
                  or in the event such certificates are no longer issued, a person meeting the requirements
                  set forth immediately above holding all necessary certificates, authorizations and
                  licenses and legally engaged in the business of transporting passengers or cargo for hire
                  by air predominantly to, from or between points within the United States of America,
                  and (ii) an air carrier operating certificate issued pursuant to Chapter 447 of Title 49 of
                  the United States Code for aircraft capable of carrying ten or more individual or 6,000
                  pounds or more of cargo thus entitling Lessor to the benefits of Section 1110.

                  "CFM Tripartite Agreement" means the CFM Rate Per Flight Hour Services Tri-
                  partite Agreement dated as of March 6, 2018 (as amended, supplemented and otherwise
                  modified from time to time), among the Lessee, Accipiter Holdings DAC and the
                  Engine Manufacturer relating to the CFM RPFH Agreement.

                  "CFM RPFH Agreement" means the CFM Rate Per Flight Hour Agreement #1-
                  2494673211 dated October 17, 2011, as assumed and amended, between the Lessee and
                  the Engine Manufacturer.

                  "CFM Lessor Maintenance Agreement" means the Lessor Maintenance Agreement
                  dated as of March 6, 2018 (as amended, supplemented and otherwise modified from
                  time to time), between Accipiter Holdings DAC and the Engine Manufacturer, together
                  with the LSA Addendum thereto relating to the Engines between the Lessor and the
                  Engine Manufacturer.

                  "Change" has the meaning specified in Clause 10.6(a).

                  "Compliance Date" shall have the meaning provided in Clause 19.1(b)(i).

                  “Consolidated Text” shall have the meaning provided in Clause 3.4.

                  "Code" means the Internal Revenue Code of 1986.

                  "Core Module" means the following major modules of the Engines:

                  (a)         high pressure compressor;

                  (b)         high pressure turbine;

                  (c)         combustion chamber; and



          764623-4-294-v3.0                               -5-                                     80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                               INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE               Document 1-2      Filed 06/06/23 RECEIVED
                                                                                    Page 30 NYSCEF:
                                                                                            of 70   06/01/2023




                  (d)         stage one low pressure turbine.

                  "CPCP" means the Manufacturer's Corrosion Prevention Control Program.

                  "CRAF" means the Civil Reserve Aircraft Fleet as more fully described in Clause
                  9.3(c).

                  "CRAF Activation Period" has the meaning specified in Clause 9.3(c).

                  "Cycle" means one (1) take-off and landing of the Aircraft or, in respect of any Engine
                  or Part temporarily installed on another aircraft, of that other aircraft.

                  "Damage Notification Threshold" means the amount specified in Schedule 6.

                  "Default Rate" means a rate of interest per annum equal to (a) if there is a Lender, the
                  interest rate specified as the default or overdue rate with respect to the indebtedness
                  secured by the Security Documents or (b) otherwise, LIBOR for such period as Lessor
                  shall specify plus three point five (3.5) percent.

                  "Delivery" means delivery of the Aircraft by Lessor to Lessee on the Delivery Date.

                  "Delivery Date" means the date on which Delivery occurs.

                  "Delivery Location" means the location specified in Schedule 6 or such other location
                  as may be mutually agreed in writing between Lessor and Lessee.

                  "Early Termination Date" means the day numerically corresponding to the day before
                  the Delivery Date in the 96th calendar month after the calendar month in which the
                  Delivery Date occurs or, if the Delivery Date occurs on the first day of the month, the
                  last day of the 95th calendar month after the calendar month in which the Delivery Date
                  occurs.

                  "Early Termination Fee" means the amount as specified in Schedule 6.

                  "Early Termination Notice" has the meaning specified in Section 4.4(a)

                  "Early Termination Option" has the meaning specified in Section 4.4(a)

                  "EASA" means the European Aviation Safety Agency established by the European
                  Parliament and the Council of the European Union under Regulation (EC) Number
                  1592/2002 and any successor that under the laws of the European Union shall have
                  from time to time control or supervision of civil aviation in the European Union or have
                  jurisdiction over the registration, airworthiness or operation of all other matters relating
                  to the Aircraft.

                  "Engine" means (a) each of the engines of the manufacture and model and having the
                  respective manufacturer's serial numbers specified in Schedule 1 and all Parts installed
                  in or on such engines at Delivery; (b) any Replacement Engine acquired by Lessor and
                  which becomes leased to Lessee hereunder pursuant to Clause 15.2 and all Parts
                  installed in or on such engine at the time of such acquisition and lease; and (c) all
                  substituted and replacement Parts at any particular time installed in or on any of the
                  said engines in accordance with this Agreement; including, in the case of (a) and (b)



          764623-4-294-v3.0                                -6-                                     80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                            INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE            Document 1-2       Filed 06/06/23 RECEIVED
                                                                                  Page 31 NYSCEF:
                                                                                          of 70   06/01/2023




                  above, any such engine which, having been removed from the Aircraft, remains the
                  property of Lessor pursuant to this Agreement and, in the case of (a), (b) and (c) above,
                  any Parts which, having been removed from any such engine, remain the property of
                  Lessor pursuant to this Agreement.

                  "Engine Manufacturer" means CFM International, Inc.

                  "Engine Rate Adjustment Factor" has the meaning set forth in Schedule 6.

                  "Engine Performance Restoration" means an Engine shop visit in which at a
                  minimum any of the following modules are exposed, disassembled and subsequently
                  refurbished in accordance with the then-current OEM LEAP-1A Maintenance Guide:
                  (i) high-pressure compressor, (ii) high-pressure turbine or (iii) combustion chamber.

                  "Engine Performance Restoration (Non-RPFH Covered)" means an Engine shop
                  visit in which at a minimum the following modules are exposed, disassembled and
                  subsequently refurbished in accordance with the then current OEM LEAP-1A
                  Maintenance Guide definition for a performance restoration; (i) high-pressure
                  compressor, (ii) high-pressure turbine, (iii) combustion chamber and (iv) low-pressure
                  compressor.

                  "Engine Restoration Maintenance Payment Rate (Full Term)" means the amount
                  specified as such in, and determined in accordance with, Schedule 6.

                  "Engine Restoration Maintenance Payment Rate (Early Termination)" means the
                  amount specified as such in, and determined in accordance with, Schedule 6.

                  "Engine Shortfall" means the amount as specified in Schedule 6.

                  "Engine Thrust Rating" means the "Maximum Engine Thrust" of the Engines
                  specified in Schedule 1.

                  "Engine Warranties Assignment" means the Engine Warranties Assignment
                  Agreement dated as of the Delivery Date, by the Engine Manufacturer, together with
                  the initial notice thereunder specifying the Lessee as the "Initial Entitled Party" and
                  specifying the Lessor as the "Initial Controlling Party", together with each and every
                  further notice issued thereunder in accordance with the terms of such agreement, or
                  such other agreement relating to the Engine Manufacturer's engine warranties in respect
                  of the Aircraft entered into (or consented to, as the case may be) by the Lessor, the
                  Lessee and the Engine Manufacturer.

                  "Event of Default" means any of the events referred to in Clause 16.1.

                  "Excluded Tax" has the meaning set forth in Clause 19.2.

                  "Expiry Date" means the day numerically corresponding to the day before the Delivery
                  Date in the 144th calendar month after the calendar month in which the Delivery Date
                  occurs or, if the Delivery Date occurs on the first day of the month, the last day of the
                  143th calendar month after the calendar month in which the Delivery Date occurs;
                  provided that, if the Lessee duly exercises the Early Termination Option in accordance
                  with Clause 4.4, "Expiry Date" means the Early Termination Date.



          764623-4-294-v3.0                             -7-                                     80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                              INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE            Document 1-2         Filed 06/06/23 RECEIVED
                                                                                    Page 32 NYSCEF:
                                                                                            of 70   06/01/2023




                  "FAA" means the Federal Aviation Administration of the Department of Transportation
                  of the United States of America and any successor that under the laws of the United
                  States of America shall from time to time have control or supervision of civil aviation
                  in the United States of America or have jurisdiction over the registration, airworthiness
                  or operation of, or other matters relating to, the Aircraft.

                  "FAA Bill of Sale" has the meaning given to such term in Clause 2.1(f).

                  "FAA Filed Documents" has the meaning given to such term in Clause 2.1(f).

                  "Fan Module" means the (i) fan and booster; and (ii) low pressure compressor.

                  "Fan and/or LPT Module Performance Restoration" means a shop visit in which a
                  Level 2 performance restoration is performed on the Fan Module and/or LPT Module,
                  as applicable, in accordance with the then-current OEM LEAP-1A Maintenance Guide.

                  "Fan and LPT Module Performance Restoration (Non-RPFH Covered)" means a
                  shop visit in which at a minimum the following modules are exposed, disassembled and
                  subsequently refurbished in accordance with the then current OEM LEAP-1A
                  Maintenance Guide definition for a performance restoration: (i) Fan Module and (ii)
                  LPT Module.

                  "FATCA" means Section 1471 through 1474 of the Code (or any amended or successor
                  version that is substantively comparable and not materially more onerous to comply
                  with), any current or future regulations or official interpretations thereof and any
                  agreements entered into pursuant to Section 1471(b)(1).

                  "Federal Aviation Regulations" or "FAR" means the regulations promulgated by the
                  FAA pursuant to Title 49, Subtitle VII of the United States Code, including, for the
                  avoidance of doubt, Part 25, Part 91 (as applicable), Part 121 and Part 129 (as
                  applicable).

                  "Financing Documents" means all Loan Agreements and all Security Documents,
                  swaps and forward interest rate agreements entered into in connection with any Loan
                  Agreement and all other documents from time to time executed by Lessor, Owner
                  Participant or any of its Affiliates or any third party by way of security for, or as a
                  guarantee of the performance by, Lessor, Owner Participant or any of its Affiliates of
                  its obligations under any Loan Agreement (whether or not such document secures any
                  other obligations as well) and notified in writing to Lessee.

                  "Flight Hour" means each hour or part thereof elapsing from the moment at which the
                  wheels of the Aircraft (or other aircraft in the case of Parts, the APU or Engines
                  temporarily installed on such other aircraft) leave the ground on the take-off of the
                  Aircraft (or such other aircraft) until the wheels of the Aircraft (or such other aircraft)
                  touch the ground on the landing of the Aircraft (or such other aircraft) following such
                  take-off.

                  "GAAP" means generally accepted accounting principles in the United States.

                  "Government Entity" means (a) any national government, political subdivision
                  thereof or local jurisdiction therein; (b) any instrumentality, board commission, court
                  or agency of any of the foregoing, however constituted; and (c) any association,


          764623-4-294-v3.0                              -8-                                      80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE             Document 1-2         Filed 06/06/23 RECEIVED
                                                                                     Page 33 NYSCEF:
                                                                                             of 70   06/01/2023




                  organization or institution of which any of the foregoing is a member or to whose
                  jurisdiction any thereof is subject or in whose activities any of the above is a participant.

                  "Habitual Base" means the jurisdiction set forth in Schedule 6.

                  "Holdings" means Frontier Airlines Holdings, Inc., a Delaware corporation.

                  "I.A.T.A." means the International Air Transport Association.

                  "ICAO" means the International Civil Aviation Organization.

                  "Incident and Accident Statement" means a statement signed by Lessee's Quality
                  Control Manager certifying that, other than as set out in detail in such certificate neither
                  the Aircraft nor any Engine or Part thereon has ever been damaged in any 'accident' or
                  'incident' (as such terms are defined by the FAA) and has never been exposed to
                  excessive heat, shock or salt water and that no Part has ever been procured form a
                  military source.

                  "Indemnitee" means Lessor, Owner Participant, Servicer, Trust Company, each Lender
                  and their respective successors, permitted assigns and their respective officers, directors,
                  agents, shareholders, partners, members, managers, contractors, Affiliates and
                  employees.

                  "Inflight Equipment" has the meaning specified in Clause 10.6(f).

                  "International Registry" shall mean the electronic registry maintained pursuant to the
                  Cape Town Convention.

                  "IRS" means the Internal Revenue Service.

                  "Landing Gear" the complete strut assembly, consisting of the inner and outer
                  cylinders of each main Landing Gear and nose Landing Gear and all associated parts
                  that comprise each landing gear assembly (as listed in the Aircraft Documents)
                  (including side struts, braces, and uplock and downlock mechanisms but excluding
                  rotable parts such as wheels, tires, brakes, transducers and switch assemblies) as
                  specified in Schedule 1 and any replacement landing gear installed on the Aircraft in
                  accordance with the terms of this Agreement, title to which is vested in Lessor in
                  accordance with this Agreement.

                  "Landing Gear Maintenance Payment Rate" means the amount specified in
                  Schedule 6.

                  "Landing Gear Overhaul" means an overhaul of a Landing Gear assembly in
                  accordance with the Manufacturer’s repair manual that restores such Landing Gear to
                  a “zero time since overhaul” condition in accordance with the Manufacturer’s repair
                  manual and is performed in accordance with the Manufacturer’s overhaul specifications
                  and operating criteria (excluding any rotable components such as wheels, tires, brakes
                  and consumable items).

                  "LEAP-1A Maintenance Guide" means the Engine Manufacturer’s workscope
                  planning guide for the applicable engine type.



          764623-4-294-v3.0                               -9-                                       80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE             Document 1-2         Filed 06/06/23 RECEIVED
                                                                                     Page 34 NYSCEF:
                                                                                             of 70   06/01/2023




                  "Lease Supplement No. 1" means the lease supplement substantially in the form set
                  out in Schedule 2.

                  "Lender" means one or more banks or financial institutions or other persons notified
                  in writing to Lessee that may from time to time provide financing directly or indirectly
                  to Lessor, Owner Participant or any of its Affiliates in relation to acquisition or
                  continuing ownership of the Aircraft, or which is secured directly or indirectly by the
                  Aircraft or the rights of the Lessor under this Agreement, and shall include any person
                  acting as agent or security agent or trustee for one or more Lenders; provided that, any
                  requirement in this Agreement to give notices to or receive consents from the Lender
                  shall be disregarded until such time as the Lessor has identified one or more Lenders
                  and has specified the Lender who is to be treated as the "Lender" for purposes of such
                  requirements.

                  "Lessee Caused Tax" means any Tax imposed if and to the extent that such Tax results
                  from (a) the negotiation, presence, execution, enforcement, registration, or delivery of
                  any of the Operative Documents, (b) the presence, use, operation, maintenance,
                  alteration, registration, repair, or replacement of the Aircraft or any part thereof, (c) the
                  presence or organization of the Lessee, any sublessee or other person in possession of
                  control of the Aircraft in, or payment of any amount under the Operative Document
                  from such jurisdiction, (d) the gross negligence, recklessness or willful misconduct of
                  the Lessee or other use of the Aircraft, or (e) the breach by Lessee of any of its
                  representations or covenants under any Lessee’s Document.

                  "Lessee's Documents" means (a) this Agreement, the Lease Supplement No. 1 and
                  Acceptance Certificate, the CFM RPFH Agreement, the CFM Tripartite Agreement,
                  the Warranty Bill of Sale, the BFE Bill of Sale, the Purchase Agreement Assignment,
                  the Purchase Agreement insofar as it relates to the Aircraft, the Return Acceptance
                  Certificate (when executed), the Assignment of Insurances, the Airframe Warranties
                  Agreement, the Engine Warranties Assignment, any consent or confirmation of any
                  such assignment of warranties in respect of the Aircraft, or any Engines, any
                  acknowledgment and agreement with respect to the Security Documents executed by
                  Lessee and all notices, consents, certificates, confirmations and other documents from
                  time to time issued or entered into by Lessee pursuant to or in connection with any of
                  the foregoing; or (b) any other document or agreement with respect to the Aircraft
                  which Lessee on the one hand and the Servicer or Lessor on the other hand agree in
                  writing shall be a Lessee's Document.

                  "Lessor Guarantee" means a Guarantee from Lessor Guarantor in respect of Lessor's
                  obligations under this Agreement.

                  "Lessor Guarantor" means Owner Participant.

                  "Lessor's Lien" means any Lien over the Aircraft arising as a result of (a) any act or
                  omission of Lessor that constitutes a breach of any of the terms of this Agreement, (b)
                  any indebtedness, liability or other obligation arising by, through or under Lessor that
                  is unrelated to the Operative Documents or the transactions contemplated thereby or (c)
                  the Financing Documents from time to time entered into by Lessor or (d) Taxes not
                  indemnified by Lessee pursuant to the terms of Clause 19.2.




          764623-4-294-v3.0                              - 10 -                                     80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                               INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE             Document 1-2        Filed 06/06/23 RECEIVED
                                                                                    Page 35 NYSCEF:
                                                                                            of 70   06/01/2023




                  "Letter of Credit" has the meaning set forth in Clause 6.2(c) and forming a portion of
                  the Security for the Aircraft.

                  "LIBOR" has the meaning set forth in Schedule 6.

                  "Lien" means any mortgage, charge, pledge, lien, right of detention, right of set-off,
                  right of de-registration or export, any "international interest" or "national interest" as
                  defined in the Cape Town Convention or any encumbrance or security interest
                  whatsoever, howsoever created or arising.

                  "LLP" means any Part for which a mandatory or established replacement time limit or
                  inspection interval is specified in the type design, instructions for continued
                  airworthiness or, in some cases, the maintenance manual.

                  "LLP Replacement Event" means, in respect of an Engine, the performance of
                  scheduled replacement of LLP(s) for an Engine in accordance with the Engine
                  Manufacturer’s time limits manual certified cyclic life limits.

                  "Loan Agreement" means any agreement from time to time entered into between
                  Lessor, Owner Participant or any Affiliate of the Owner Participant and one or more
                  Lenders providing financing to Lessor, Owner Participant or any Affiliate of the Owner
                  Participant in relation to the acquisition or continuing ownership of the Aircraft or
                  which is secured, directly or indirectly, by the Aircraft or the beneficial interests of the
                  Owner Participant under the Trust Agreement or the rights of the Lessor under this
                  Agreement.

                  "LPT Module" means the low pressure turbine module.

                  "Maintenance Adjustment Payments" means the amounts to be paid by Lessee
                  pursuant to Clause 18.7.

                  "Maintenance Planning Document" means the latest revision of the Manufacturer's
                  recommended maintenance program for the Aircraft.

                  "Maintenance Program" means at any time a continuous airworthiness maintenance
                  and inspection program of Lessee that is authorized and approved by the Aviation
                  Authority and based on the Manufacturer's Maintenance Planning Document and in
                  compliance with FAA guidelines, encompassing scheduled maintenance (including
                  block maintenance), condition monitored maintenance, and/or on condition
                  maintenance of the Airframe and Engines.

                  "Maintenance Requirements" has the meaning provided in Clause 10.1.

                  “Major Modification” means any Change that requires an FAA supplemental type
                  certificate.

                  "Manufacturer" means Airbus S.A.S., a société par actions simplifiée organized and
                  existing under the law of France, or Airbus Americas, Inc., a corporation incorporated
                  and existing under the law of Delaware, United States, as applicable.

                  "Maximum Change Amount" means the amount specified in Schedule 6.



          764623-4-294-v3.0                              - 11 -                                    80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                 INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE             Document 1-2         Filed 06/06/23 RECEIVED
                                                                                     Page 36 NYSCEF:
                                                                                             of 70   06/01/2023




                  "Minimum Liability Coverage Amount" means the amount specified in Schedule 6.

                  "Module" means any of the Core Module, the Fan Module or the LPT Module, as the
                  context may require.

                  "Module Apportionment Percentage" has the meaning specified in Schedule 6.

                  “MRO” means a maintenance and repair organization that is certified pursuant to FAR
                  Part 145.

                  "OEM" means an original equipment manufacturer.

                  "OEM Parts" means any part that has been produced, approved or licensed for
                  production by or on behalf of an OEM and is included in the illustrated parts catalogue.

                  "Operative Documents" means Lessee's Documents and the Financing Documents
                  and all notices, consents, certificates, confirmations and other documents from time to
                  time issued or entered into pursuant to or in connection with any thereof.

                  "Other Agreement" means (a) any lease agreement relating to an Other Aircraft or (b)
                  any other agreement that Lessee, on the one hand, and Lessor or the Servicer on behalf
                  of the Lessor, on the other hand, agree is an "Other Agreement" for purposes of this
                  Agreement.

                  "Other Aircraft" means any aircraft (other than the Aircraft) leased by Lessor or
                  Owner Participant or an Affiliate of Owner Participant, on the one hand, to Lessee or
                  Holdings or any of their respective subsidiaries, on the other hand.

                  "Other Lessee's Documents" has the meaning given to the term "Lessee's Documents"
                  (or any functionally similar term) in any Other Agreement, and includes each Other
                  Agreement.

                  "Other Second Group Aircraft" means any of the six (6) aircraft (other than the Aircraft)
                  leased by Lessor or Owner Participant or an Affiliate of Owner Participant, on the one hand,
                  to Lessee or Holdings or any of their respective subsidiaries, on the other hand, with
                  scheduled delivery months, in the case of two aircraft April 2020, in the case of one aircraft
                  May 2020, in case of one aircraft October 2020.

                  "Owner Participant" means Vermillion Aviation (Two) Limited.

                  "Part" means each part, component, appliance, accessory, instrument or other item of
                  equipment (other than complete Engines or other engines) for the time being installed
                  or incorporated in or attached to the Airframe or an Engine or which, having been
                  removed therefrom, remains the property of Lessor pursuant to this Agreement,
                  including, for the avoidance of doubt, all LLPs.

                  "Permitted Lien" means (a) any Lien in respect of Taxes which are either not yet
                  assessed or, if assessed, not yet due and payable or if due and payable are being
                  contested in good faith by appropriate proceedings (and for the payment of which
                  adequate reserves are maintained by or an adequate bond has been provided by Lessee);
                  (b) any Lien of an airport hangar-keeper, mechanic, material-man, carrier, employee or
                  other similar Lien arising in the ordinary course of business by statute or by operation



          764623-4-294-v3.0                              - 12 -                                      80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                             INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE            Document 1-2        Filed 06/06/23 RECEIVED
                                                                                   Page 37 NYSCEF:
                                                                                           of 70   06/01/2023




                  of law, in respect of obligations that are not overdue or that are being contested in good
                  faith by appropriate proceedings (and for the payment of which adequate reserves have
                  been maintained by or an adequate bond has been provided by Lessee); (c) any Lien
                  created by, or which is expressly permitted under, the terms of any of the Operative
                  Documents; and (d) any Lessor's Liens; provided that (in relation to (a) and (b) above),
                  any such proceedings, or the continued existence of such Lien, do not involve any
                  likelihood of the sale, forfeiture or loss of the Aircraft or an Engine or any interest
                  therein or the imposition of any criminal or unindemnified civil liability upon the Lessor
                  or any Indemnitee.

                  "Permitted Transferee" has the meaning set forth in Schedule 6.

                  "PMA Part" means a Part manufactured in accordance with a parts manufacturer
                  approval under FAR Part 21, but excludes Parts that are manufactured with the license
                  or approval of the OEM and are included in the illustrated parts catalogue.

                  "Purchase Agreement" means the A320 Family Aircraft Purchase Agreement dated
                  as of September 30, 2011 between the Lessee and the Manufacturer, together with its
                  various exhibits and appendices, as assigned, amended and supplemented from time to
                  time.

                  "Purchase Agreement Assignment" means the Purchase Agreement Assignment in
                  respect of the Aircraft to be entered into and dated as of the Delivery Date between
                  Lessor and Lessee, and the related consent thereto by Manufacturer.

                  "Quotation Date" means, in relation to any period for which an interest rate is to be
                  determined hereunder, the day on which quotations would ordinarily be given by prime
                  banks in the London Interbank Market for deposits in the currency in relation to which
                  such rate is to be determined for delivery on the first day of that period (the time on
                  such day on which such quotations are given being 11:00 a.m. London time); provided
                  that, if, for any period, quotation would ordinarily be given on more than one date, the
                  Quotation Date for that period shall be the last of those dates.

                  "RDAS" has the meaning specified in Section 10.3(e).

                  "Redelivery" means the redelivery of the Aircraft to Lessor in compliance with the
                  terms of this Agreement.

                  "Redelivery C-Check" has the meaning specified in Schedule 4.

                  "Redelivery Date" means the date on which Lessor accepts the Aircraft for Redelivery.

                  "Rent" means Basic Rent and Supplemental Rent.

                  "Removed Engine" has the meaning set forth in Clause 11.1(a).

                  "Replacement Engine" has the meaning set forth in Clause 15.2(c).

                  "Replacement Part" has the meaning set forth in Clause 10.4(g).

                  "Return Acceptance Certificate" means the certificate substantially in the form set
                  out in Schedule 10.


          764623-4-294-v3.0                             - 13 -                                   80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE             Document 1-2         Filed 06/06/23 RECEIVED
                                                                                     Page 38 NYSCEF:
                                                                                             of 70   06/01/2023




                  "Return Location" has the meaning provided in Clause 18.1.

                  "Section 1110" means Section 1110 of the Bankruptcy Code as in effect at any relevant
                  time.

                  "Security" has the meaning provided in Clause 6.2.

                  "Security Documents" means any and all assignments by way of security, security
                  agreements, mortgages or similar documents, instruments or agreements entered into
                  by Lessor from time to time, and notified in writing to Lessee by Lessor, pursuant to
                  which the Lessor grants a Lien in respect of any or all of Lessor's right, title and interest
                  in and to the Aircraft, this Agreement and/or the other Lessee's Documents in favor of
                  a Lender.

                  "Servicer" means AMCK Aviation or such other person that Lessor may notify Lessee
                  in writing as being the servicer of this Agreement and the Aircraft from time to time.

                  "Special FAA Counsel" means Daugherty, Fowler, Peregrin, Haught and Jenson, or
                  such other specialist FAA counsel as may be mutually agreed by Lessor and Lessee.

                  "SRM" means the latest revision of the Manufacturer's Structural Repair Manual.

                  "State of Incorporation" means the State of Colorado, U.S.A.

                  "State of Registration" means the either the United States of America or such other
                  jurisdiction in which the Aircraft is then registered in accordance with the terms of this
                  Agreement.

                  “STC” shall have the meaning as set forth in Clause 10.6(a).

                  "Supplemental Rent" means all amounts, liabilities and obligations (other than Basic
                  Rent) which Lessee assumes or agrees to pay under this Agreement or any other
                  Lessee's Document to Lessor or others, including Maintenance Adjustment Payments,
                  and Security and Agreed Value payments.

                  "Tax Indemnitee" means each of Lessor, Owner Participant, Servicer, Trust Company,
                  AMCK Aviation, each Lender and any Affiliate of any of the foregoing and if any such
                  entity is treated as a partnership, a disregarded entity or other pass-through entity for
                  tax purposes (each, a "Pass-Through Entity"), any person who owns, directly or
                  indirectly through one or more Pass-Through Entities, an interest in the Pass-Through
                  Entity and each of the respective successors and assigns of the foregoing.

                  "Taxes" means all present and future taxes, levies, imposts, duties, withholdings, fees
                  or charges of any nature whatsoever, and wheresoever imposed, including value added
                  tax, consumption tax or any other tax in respect of added value or any income (including
                  gross income, minimum, alternative minimum, capital gains income, gross receipts and
                  net receipts), franchise, transfer, sales, use, business, occupation, excise, personal
                  property, real property, stamp, import, export or other tax imposed by a taxing authority
                  of any country, or governmental subdivision thereof or therein or by any international
                  authority, together with any penalties, additions to tax, fines or interest with respect to
                  any of the foregoing; and "tax" and "taxation" shall be construed accordingly.



          764623-4-294-v3.0                              - 14 -                                     80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                            INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE            Document 1-2       Filed 06/06/23 RECEIVED
                                                                                  Page 39 NYSCEF:
                                                                                          of 70   06/01/2023




                  "Term" means the period commencing on the Delivery Date and ending on the
                  Termination Date.

                  "Termination Date" means the Expiry Date, or, if earlier, (a) the date when Lessor
                  terminates the leasing of the Aircraft to Lessee pursuant to the terms hereof, or (b) the
                  date when Lessor receives the Agreed Value together with any other amounts then due
                  and unpaid under Lessee's Documents, following a Total Loss of the Aircraft; provided
                  that, if the Term is extended pursuant to Clause 18.4, the Termination Date shall be
                  extended to the date when the Aircraft has been redelivered to Lessor in full compliance
                  with this Agreement.

                  "Total Loss" means, in relation to the Aircraft, the Airframe, the APU or any Engine,
                  any of the following: (a) actual, constructive, compromised, arranged or agreed total
                  loss (including any damage thereto or requisition for use or hire which results in an
                  insurance settlement on the basis of a total loss); (b) destruction, damage beyond repair
                  or being rendered permanently unfit for normal use for any reason whatsoever (which
                  in the case of an Engine shall be determined jointly with the Engine Manufacturer); (c)
                  requisition of title, confiscation, forfeiture, compulsory acquisition, sequestration,
                  detention, seizure or other similar event; (d) its hijacking, theft or disappearance
                  resulting in loss of possession by Lessee for a period of thirty (30) consecutive days or
                  longer or on the last day of the Term; (e) any sale of the Aircraft in connection with a
                  Lessee bankruptcy, whether by an administrator, trustee or court; or (f) any other
                  occurrence not permitted under this Agreement which deprives Lessee, or any other
                  person permitted to have possession or use of the Aircraft, of use or possession for a
                  period of sixty (60) consecutive days or longer.

                  "Transportation Code" means subtitle VII of title 49, United States Code.

                  "Trigger Event" means, at Redelivery, that each of the following conditions is satisfied:
                  (A) each of the CFM RPFH Agreement and the CFM Tripartite Agreement remains in
                  full force and effect in respect of the Engines and (B) no event of default by Lessee has
                  occurred and is continuing with respect to the Engines under the CFM RPFH
                  Agreement or the CFM Tripartite Agreement (regardless of whether the same has been
                  terminated).

                  "Trust Agreement" means the Trust Agreement (including each supplement thereto)
                  relating to the Aircraft entered into on or prior to the Delivery Date between the Trust
                  Company and the Owner Participant.

                  "Trust Company" means: (a) UMB Bank, N.A. a national banking association, in its
                  individual capacity, or (b) if UMB Bank, N.A. is not then serving as Owner Trustee
                  under the Trust Agreement, the entity serving as successor Owner Trustee, in its
                  individual capacity.

                  "UCC" means the Uniform Commercial Code, as the same may be in effect in any
                  applicable jurisdiction within the United States.

                  "United States" or "U.S." means the United States of America; provided, that for
                  geographic purposes, "United States" means, in aggregate, the 50 states and the District
                  of Columbia of the United States of America.




          764623-4-294-v3.0                            - 15 -                                   80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                Document 1-2        Filed 06/06/23 RECEIVED
                                                                                       Page 40 NYSCEF:
                                                                                               of 70   06/01/2023




                  "US$," "US Dollars" or "$" means the lawful currency of the United States of America.

                  "Warranty Bill of Sale" means the bill of sale in respect of the Aircraft, in form and
                  substance satisfactory to the Lessor, executed and delivered by the Manufacturer in
                  favor of Lessor.

         1.2      Interpretation

                  (a)         References in this Agreement to:

                              (i)     an Event of Default includes (except in relation to Clause 16.2)
                                      references to any event that, with the giving of notice and/or lapse of
                                      time and/or the making of a relevant decision contemplated by Clause
                                      16.1 would constitute an Event of Default;

                              (ii)    Clauses or Schedules are, unless otherwise specified, references to
                                      Clauses of, and Schedules to, this Agreement;

                              (iii)   any statutory or other legislative provision shall be construed as
                                      including any statutory or legislative modification or re-enactment
                                      thereof, or any provision enacted in substitution therefor;

                              (iv)    the Aircraft include any part of the Aircraft, and, where the context so
                                      admits, any of the Aircraft Documents, and references to any part of the
                                      Aircraft include any part of any Engine;

                              (v)     the word "person" or "persons" or to words importing persons include
                                      individuals, partnerships, limited liability companies, corporations,
                                      Government Entities and other bodies, corporate or unincorporated,
                                      whether having distinct legal personality or not;

                              (vi)    references to "Lessor", "Lessee", "Owner Participant", "Trust
                                      Company", "Servicer" or any "Lender" includes each of their
                                      respective successors, assigns and transferees, subject, in each case, to
                                      any provisions hereof (if any) relating to permissible successions,
                                      transfers and assignments;

                              (vii)   any agreement shall include such agreement as it may from time to time
                                      be amended, restated, modified, supplemented, novated or substituted;

                              (viii) an "agreement" also includes a concession, contract, deed, instrument,
                                     franchise, license, treaty or undertaking (in each case, whether oral or
                                     written);

                              (ix)    the "assets" of any person shall be construed as a reference to the whole
                                      or any part of its business, undertaking, property, assets and revenues
                                      (including any right to receive revenues);

                              (x)     "indebtedness" with respect to any person includes any obligation of
                                      that person (whether present or future, actual or contingent, secured or
                                      unsecured, as principal or surety or otherwise) for the payment or
                                      repayment of money, including (A) under acceptances, bills, bonds,


          764623-4-294-v3.0                                 - 16 -                                  80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                  INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                 Document 1-2         Filed 06/06/23 RECEIVED
                                                                                         Page 41 NYSCEF:
                                                                                                 of 70   06/01/2023




                                      debentures, notes or similar instruments; (B) under guarantees,
                                      indemnities or other assurances against financial loss; (C) under any
                                      finance or operating lease relating to any asset; or (D) in respect of any
                                      liability for the payment of any purchase price for any asset or services,
                                      payment of which is deferred for more than 180 days;

                              (xi)    "law" shall include common or customary law and any constitution,
                                      decree, judgment, legislation, order, ordinance, regulation, rule, statute,
                                      treaty, convention or other legislative measure in any jurisdiction or any
                                      present or future directive, regulation, procedure, request or requirement,
                                      or official or judicial interpretation of any of the foregoing, in each case
                                      having the force of law;

                              (xii)   "month" are references to a period starting on one day in a calendar
                                      month and ending on the numerically corresponding day in the next
                                      calendar month (and references to "months" shall be construed
                                      accordingly) except that, where any such period would otherwise end on
                                      a non-Business Day, it shall end on the preceding Business Day;
                                      provided that, if there is no numerically corresponding day in the
                                      month in which that period ends, that period shall end on the last
                                      Business Day in such month;

                              (xiii) a "guarantee" also includes any other obligation (whatever called) of
                                     any person to pay, purchase, provide funds (whether by way of the
                                     advance of money, the purchase of or subscription for shares or other
                                     securities, the purchase of assets or services, or otherwise) for the
                                     payment of, to indemnify against the consequences of default in the
                                     payment of, or otherwise to be responsible for, any indebtedness of any
                                     other person;

                              (xiv)   the words "include", "includes" and "including" shall be deemed to be
                                      followed by the phrase "without limitation";

                              (xv)    the word "will" shall be construed to have the same meaning and effect
                                      as the word "shall";

                              (xvi)   the words "herein", "hereof" and "hereunder", and words of similar
                                      import, shall be construed to refer to this Agreement in its entirety and
                                      not to any particular provision hereof; and

                              (xvii) "gross negligence" means, in relation to any person, intentional,
                                     conscious or voluntary acts or decisions of that person taken with
                                     wanton, reckless or flagrant disregard for the consequences of such act
                                     or decision; and

                              (xviii) "material" means the subject matter of the statement or concealment
                                      related to a fact or circumstance which would be important to the
                                      decision to be made as distinguished from an insignificant, trivial or
                                      unimportant detail.

                  (b)         Headings are for ease of reference only.



          764623-4-294-v3.0                                 - 17 -                                    80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                  INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                Document 1-2         Filed 06/06/23 RECEIVED
                                                                                        Page 42 NYSCEF:
                                                                                                of 70   06/01/2023




                  (c)         Where the context so admits, words importing the singular number shall include
                              the plural and vice versa, and words importing neuter gender shall include the
                              masculine or feminine gender.

         2.       REPRESENTATIONS AND WARRANTIES

         2.1      Lessee's Representations and Warranties

                  Lessee acknowledges that Lessor and Owner Participant have entered into this
                  Agreement and the other Operative Documents in full reliance on the representations
                  and warranties by Lessee in Clauses 2.1 and 2.3; and Lessee now represents and
                  warrants to Lessor and the Owner Participant that the following statements are on the
                  date hereof, and on the Delivery Date will be, true and accurate:

                  (a)         Lessee is duly incorporated under the laws of the State of Incorporation and is
                              validly existing and in good standing, and has full corporate power and authority
                              to conduct its business as presently conducted, to own or hold under lease its
                              assets, to enter into and perform its obligations under the Operative Documents
                              to which it is a party, to satisfy the conditions precedent set forth in Clause 3.1
                              and to consummate the transactions contemplated by the Operative Documents
                              to which it is a party;

                  (b)         Lessee's organizational documents incorporate provisions that permit, and all
                              necessary authorizations, approvals, consents, licenses, permits and orders of
                              and registrations with any Government Entity, including, but not limited to,
                              those relating to foreign exchange controls, have been duly and unconditionally
                              obtained and are now in full force and effect that are required to authorize,
                              Lessee to sign and deliver, and perform its obligations under and the
                              transactions contemplated by, the Operative Documents to which Lessee is a
                              party and satisfy the conditions precedent set forth in Clause 3.1;

                  (c)         Lessee holds all licenses, certificates and permits from all relevant Government
                              Entities for the conduct of its business (as presently conducted) as a Certificated
                              Air Carrier and the performance of its obligations hereunder;

                  (d)         the Operative Documents to which Lessee is a party constitute, or when entered
                              into will constitute, legal, valid and binding obligations of Lessee, enforceable
                              in accordance with their respective terms, except to the extent that enforceability
                              may be limited by any applicable bankruptcy or insolvency laws affecting
                              creditors' rights generally and/or general principles of equity;

                  (e)         neither the execution and delivery of the Operative Documents to which Lessee
                              is a party, the performance of any of the transactions contemplated herein and
                              therein nor the satisfaction of the conditions precedent set forth in Clause 3.1
                              will: (i) contravene or constitute a violation or breach of or a default under any
                              existing law or agreement by which Lessee or any of its assets is bound, any
                              agreement to which it is a party or Lessee's organizational documents; (ii) cause
                              any limitation on Lessee or its assets or the powers of its directors or officers,
                              whether imposed by or contained in Lessee's organizational documents or any
                              existing law, agreement or otherwise, to be exceeded; or (iii) result in the




          764623-4-294-v3.0                                 - 18 -                                    80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                   INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                 Document 1-2        Filed 06/06/23 RECEIVED
                                                                                        Page 43 NYSCEF:
                                                                                                of 70   06/01/2023




         19.12 Forms

                  (a)         Each Indemnitee agrees to furnish from time to time to Lessee or to such other
                              person as Lessee may designate, at Lessee's request and expense, such duly
                              executed and properly completed forms as such Indemnitee may be permitted
                              and legally able to deliver and as may be necessary or appropriate in order to
                              claim any reduction of, or exemption from any Tax which Lessee may be
                              required to indemnify against hereunder, unless such Indemnitee determines
                              that furnishing such forms may have an adverse effect on the business or
                              operations of such Indemnitee.

                  (b)         Lessor will provide Lessee, upon Lessee's request not more frequently than once
                              annually: (i) an IRS form W-8BEN-E or other appropriate tax form claiming a
                              full exemption from U.S. withholding tax on the payments to be received from
                              Lessee under this Agreement, duly completed (including a United States
                              taxpayer identification number of Owner Participant) and executed by Owner
                              Participant, (ii) an IRS form W-9 (or other appropriate tax form) duly completed
                              by the Lessor evidencing that the Lessor/Trust Company is a U.S. Person as
                              defined in Section 7701(a)(30) of the Code; and (iii) if and for so long as the
                              Owner Participant is a person which is a resident of Ireland for tax purposes and
                              it remains the practice of the Irish Revenue Commissioners to provide such
                              certificates, a certificate of Irish tax residence evidencing that Owner Participant
                              is a resident of Ireland; provided, however, that Lessor shall not be considered
                              in breach of its obligation under this Clause 19.12(b) if the Owner Participant
                              or the Lessor is unable to provide any such document or form as a result of a
                              change in law after the date hereof.

         19.13 Survival

                  The indemnities and other obligations of Lessee under this Clause 19 shall survive the
                  expiration or other termination of this Agreement.

         20.      FURTHER PROVISIONS

         20.1     Nature of Lessee's Obligations

                  All obligations of Lessee under this Agreement shall constitute conditions, and the time
                  for the performance of such conditions shall be of the essence.

         20.2     Benefit of Agreement

                  (a)         Lessor Transfer. Each of Lessor and Owner Participant (and any subsequent
                              permitted assignee or transferee) shall have the right at any time, at its own
                              expense and upon prior written notice to Lessee, to transfer ownership or
                              beneficial ownership, as applicable, of the Aircraft, or to assign (including to
                              assign as security), mortgage, novate, transfer, grant participations in, or
                              otherwise dispose of its rights and obligations under this Agreement and the
                              other Operative Documents, to any other person by outright transfer or
                              assignment or collateral assignment or by operation of law and Lessee hereby
                              consents to any such transfer or assignment; provided that:




          764623-4-294-v3.0                                  - 94 -                                    80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                    INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                 Document 1-2         Filed 06/06/23 RECEIVED
                                                                                         Page 44 NYSCEF:
                                                                                                 of 70   06/01/2023




                              (i)     Lessee shall have no greater financial obligation or liability under this
                                      Agreement and the other Lessee Documents as a result of such transfer
                                      based on the facts and circumstances existing and applicable laws in
                                      effect at the time of such transfer, than it would have had if such transfer
                                      had not taken place and Lessee acknowledges that an increase in the
                                      number of or replacement of beneficiaries (including the number of
                                      beneficiaries under any applicable insurance or reinsurance),
                                      Indemnitees or Tax Indemnitees shall not, of itself, constitute an
                                      increase in Lessee's financial obligations hereunder;

                              (ii)    such transfer shall not result in any restriction, based on the facts and
                                      circumstances existing and applicable laws in effect at the time of such
                                      transfer, on Lessee's rights under this Agreement or the other Lessee's
                                      Documents or on Lessee's use or operation of the Aircraft;

                              (iii)   in the case of a sale of the Aircraft by Lessor or transfer of the beneficial
                                      interest of Owner Participant in the Aircraft or a transfer (other than to
                                      an Affiliate of the Lessor Guarantor) of a controlling interest in the
                                      Owner Participant, any such assignee or transferee shall be a Permitted
                                      Transferee and shall unconditionally guaranty the obligations of Lessor
                                      under this Agreement pursuant to a Guarantee in form substantially
                                      similar to the Guarantee executed by Owner Participant in favor of
                                      Lessee unless the existing Lessor Guarantee will remain in full force and
                                      effect following such transfer.

                              (iv)    in the case of an assignment as security by Lessor, any such assignee or
                                      transferee shall have delivered to Lessee an executed copy of a quiet
                                      enjoyment letter substantially in the form of Schedule 11, but in any
                                      event on terms not less favorable to Lessee;

                              (v)     Lessor shall have reimbursed to Lessee (or shall have agreed in writing
                                      to promptly reimburse to Lessee following such assignment, transfer or
                                      novation) Lessee's reasonable and invoiced out-of-pocket costs and
                                      expenses incurred in connection with its cooperation with Lessor under
                                      this Clause 20.2(a), including reasonable legal fees; and

                              (vi)    in the event of a transfer in accordance with this Clause 20.2, Lessor
                                      shall cause the new Lessor and/or new Owner Participant, as the case
                                      may be, to deliver to Lessee at the time of transfer a duly authorized and
                                      properly executed IRS Form W-8BEN-E, IRS Form W-8-IMY (with
                                      attachments), IRS Form W-8ECI (including a United States taxpayer
                                      identification number) or other applicable IRS form, claiming an
                                      exemption from, or reduced rate of, U.S. withholding taxes on payments
                                      to be received from Lessee under this Agreement, W-9 or appropriate
                                      successor or substitute form, as appropriate.

                  (b)         Lessee shall comply with all reasonable requests of Lessor or Owner Participant,
                              and at the expense of Lessor, to cooperate in effecting any such transfer,
                              novation, assignment, mortgage, grant or other disposition referred to in
                              paragraph (a) above and will execute any and all consents, agreements,
                              amendments or other instruments (including any supplement or amendment to


          764623-4-294-v3.0                                  - 95 -                                     80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                 INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                Document 1-2        Filed 06/06/23 RECEIVED
                                                                                       Page 45 NYSCEF:
                                                                                               of 70   06/01/2023




                              or novation of this Agreement and any confirmation of the Lessee's
                              representations and warranties as of the date of such transfer, novation,
                              assignment, mortgage, grant or other disposition) in form and substance
                              reasonably satisfactory to Lessee and promptly provide an electronic consent
                              to any registration or release of any Lien on the International Registry that may
                              be required in order to give effect to or perfect any such transfer, novation,
                              assignment, mortgage, grant or other disposition and promptly request the
                              reissuance of any insurance and reinsurance certificates and broker's letters
                              required in connection therewith with such changes as necessary to reflect such
                              transfer, novation, assignment, mortgage, grant, or other disposition and if the
                              transfer involves the assumption by the transferee of any of Lessor's or Owner
                              Participant's obligations under Lessee's Documents, to release Lessor and
                              Owner Participant from the obligations so assumed and will execute such
                              certificates and cooperate in the provision of such legal opinions as shall be
                              reasonably requested by Lessor in connection therewith. Without limiting the
                              foregoing, in the event of any assignment to Lenders, Lessee undertakes to
                              acknowledge the Security Documents by executing and delivering a consent to
                              such documents in such form as Lessor shall reasonably require, to give the
                              insurers notice of any assignment of insurance in such form as Lessor shall
                              reasonably require and to procure that the insurers acknowledge the same and
                              otherwise to provide all reasonable assistance and cooperation to Lessor, Owner
                              Participant, each Lender and their respective representatives and advisers in
                              connection with the perfection and maintenance of such security interests,
                              including the effecting of all necessary filings and registrations of the Security
                              Documents in the State of Registration and Habitual Base. Lessor shall provide
                              Lessee with such financial and other information relating to a transferee as
                              Lessee may reasonably request.

                  (c)         Subject to any subleases consented to by the Lessor under Clause 9.3 or any wet
                              lease permitted under Clause 9.3, no assignment, transfer or charge may be
                              made by Lessee of all or any of its rights in respect of the Aircraft or this
                              Agreement, and any such purported assignment, transfer or charge shall be void
                              ab initio.

                  (d)         Subject to the provisions of Clause 9.3, no assignment or transfer may be made
                              by Lessee of all or any of its rights or obligations in respect of this Agreement
                              or any other Lessee's Document. Notwithstanding the foregoing and for so long
                              as no Event of Default shall have occurred and be continuing, without the prior
                              consent of Lessor, Lessee may consolidate (on a solvent basis) with or merge
                              into or with any other corporation or other person, or convey, transfer, lease or
                              otherwise disposes of all or substantially all of its property and other assets,
                              whether by one or a series of transactions, to, or merge or consolidates (on a
                              solvent basis) with another corporation or person, provided that:

                              (i)    the person formed by or surviving or receiving such acquisition,
                                     consolidation or merger, as applicable (the "Successor Entity"): (A) is
                                     a U.S. Person, (B) immediately after giving effect to such transaction,
                                     has a tangible net worth of not less than Lessee’s tangible net worth
                                     (determined in each case in accordance with GAAP) immediately prior
                                     to such transaction; and (C) if and to the extend required under Section



          764623-4-294-v3.0                                 - 96 -                                   80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                    INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                 Document 1-2         Filed 06/06/23 RECEIVED
                                                                                         Page 46 NYSCEF:
                                                                                                 of 70   06/01/2023




         20.11 Entire Agreement

                  (a)         Lessee's Documents constitute the entire agreement between the parties hereto
                              in relation to the leasing of the Aircraft by Lessor to Lessee, and supersede all
                              previous proposals, agreements and other written and oral communications in
                              relation thereto.

                  (b)         The parties intend and agree that this Agreement:

                              (i)     constitutes a "true lease" and not a "security interest" as defined in
                                      Section 1-201(37) of the UCC; and

                              (ii)    confers only a leasehold interest on Lessee in and to the Aircraft on and
                                      subject to the terms of this Agreement, and no ownership or other
                                      interest with respect to the Aircraft is provided to Lessee under this
                                      Agreement.

                              Lessee shall not file any tax return that is inconsistent with the provisions of this
                              Clause 20.11(b).

         20.12 Section 1110

                  Lessee acknowledges that Lessor would not have entered into this Agreement unless it
                  had available to it the benefits of a lessor under Section 1110. Lessee covenants and
                  agrees with Lessor that to better ensure the availability of such benefits, Lessee shall
                  support any motion, petition or application filed by Lessor with any bankruptcy court
                  having jurisdiction over Lessee, whereby Lessor seeks recovery of possession of the
                  Aircraft under Section 1110 and shall not in any way oppose such action by Lessor
                  unless Lessee shall have complied with the requirements of Section 1110 to be fulfilled
                  in order to entitle Lessee to continue use and possession of the Aircraft under this
                  Agreement. In the event Section 1110 is amended, or it is repealed and another statute
                  is enacted in place thereof, Lessor and Lessee agree to amend this Agreement and take
                  such other action (to the extent not inconsistent with this Agreement) as Lessor
                  reasonably deems necessary so as to afford to Lessor the rights and benefits as such
                  amended or substituted statute confers upon owners and Lessors of aircraft similarly
                  situated to Lessor.

         20.13 Third Party Beneficiary

                  The Owner Participant shall be an express third party beneficiary with respect to each
                  provision herein that expressly grants the Owner Participant rights and is entitled to
                  enforce directly and in its own name such rights.

         20.14 Governing Law

                  This Agreement shall be construed in accordance with, and this Agreement and all
                  matters arising out of or relating in any way whatsoever to this Agreement (whether in
                  contract, tort or otherwise) shall be governed by, the law of the State of New York.
                  This Agreement has been delivered in the State of New York.




          764623-4-294-v3.0                                 - 101 -                                     80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                  INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                Document 1-2         Filed 06/06/23 RECEIVED
                                                                                        Page 47 NYSCEF:
                                                                                                of 70   06/01/2023




         20.15 Submission to Jurisdiction

                  (a)         With respect to any suit, action or proceedings relating to this Agreement or any
                              other Lessee's Document or any matter between the parties arising under or in
                              connection with this Agreement or any other Lessee's Document
                              ("Proceedings"), each party irrevocably: (i) submits to the non-exclusive
                              jurisdiction of the Supreme Court of the State of New York sitting in the
                              Borough of Manhattan and the United States District Court for the Southern
                              District of New York, and any appellate court from any thereof; and (ii) waives
                              any objection which it may have at any time to the laying of venue of any
                              Proceedings brought in any such court, waives any claim that such Proceedings
                              have been brought in an inconvenient forum and further waives the right to
                              object, with respect to such Proceedings, that such court does not have any
                              jurisdiction over such party. Each party hereby agrees that, subject to any rights
                              of appeal, a final judgment in any such Proceedings shall be conclusive and may
                              be enforced in other jurisdictions otherwise having jurisdiction over such party
                              by suit on such final judgment or in any other manner provided by law. Nothing
                              in this Agreement precludes any party from bringing Proceedings in any other
                              jurisdiction, nor will the bringing of Proceedings in any one or more
                              jurisdictions preclude the bringing of Proceedings in any other jurisdiction.

                  (b)         Lessee shall designate, appoint and empower Corporation Service Company
                              (CSC) of 80 State Street, Albany, NY 12207, as its authorised agent solely to
                              receive and acknowledge, for and on its behalf, service of any writ, summons,
                              order, judgment or other notice of legal process in any Proceedings. As long as
                              this Agreement remains in force, Lessee shall maintain a duly appointed and
                              authorised agent to receive and acknowledge, for and on its behalf, service of
                              any writ, summons, order, judgment or other notice of legal process in any
                              Proceedings. Lessee shall keep Lessor advised of the identity and location of
                              such agent. Lessee irrevocably undertakes not to revoke the authority of such
                              agent and, in the event of the termination of such appointment, or if for any
                              reason Lessee's process agent is unable to act as such, Lessee will appoint a
                              substitute process agent acceptable to Lessor.

                  (c)         Lessee further agrees that service of process in any Proceedings also may be
                              effected by mailing a copy thereof by registered or certified mail or by overnight
                              courier service, postage prepaid, to it at its address specified in Clause 20.8.
                              Notwithstanding anything herein to the contrary, Lessee hereby waives, to the
                              fullest extent permitted by applicable law, the right to object to the service of
                              process by Lessor, with respect to any Proceedings. Nothing in this Agreement
                              will affect the right of Lessor to serve process in any other manner permitted by
                              applicable law or to bring any legal action or proceeding or to obtain execution
                              of judgment in any jurisdiction.

                  (d)         Lessee irrevocably and unconditionally waives, to the fullest extent permitted
                              by applicable law, with respect to itself and its property (irrespective of its use
                              or intended use), all immunity on the grounds of sovereignty or other similar
                              grounds from (i) suit, (ii) jurisdiction of any court, (iii) relief by way of
                              injunction, order for specific performance or for recovery of property, (iv)
                              attachment of its assets (whether before or after judgment) and (v) execution or
                              enforcement of any judgment to which it or its revenues or assets might


          764623-4-294-v3.0                                 - 102 -                                   80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                  INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE                Document 1-2         Filed 06/06/23 RECEIVED
                                                                                        Page 48 NYSCEF:
                                                                                                of 70   06/01/2023




                              otherwise be entitled in any Proceedings in the courts of any jurisdiction and
                              irrevocably agrees, to the fullest extent permitted by applicable law, that it will
                              not claim any such immunity in any Proceedings.

         20.16 Waiver of Jury Trial

                  EACH OF LESSOR AND LESSEE HEREBY WAIVES, TO THE FULLEST
                  EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT THAT IT MAY
                  HAVE TO A TRIAL BY JURY IN RESPECT OF ANY PROCEEDINGS. Each
                  of the parties hereby (a) certifies that no representative, agent or attorney of any other
                  parties has represented, expressly or otherwise, that such other parties would not, in the
                  event of a Proceeding, seek to enforce the foregoing waiver and (b) acknowledges that
                  it has been induced to enter into this Agreement by, among other things, the mutual
                  waivers and certifications in this paragraph.

         20.17 Confidentiality

                  Each of Lessor and Lessee shall keep confidential the provisions of this Agreement that
                  were redacted for filing with the FAA and any confidential information furnished or
                  made available to them hereunder by the other party hereto, except:

                  (a)         each of Lessor and Lessee may make disclosure to the extent necessary to
                              comply with the law, the valid order of a court of competent jurisdiction or the
                              request of a regulatory authority;

                  (b)         each of Lessor and Lessee may make disclosure as part of its normal reporting
                              or review procedure to its parent companies (and, in the case of Lessor, to the
                              Owner Participant and its Affiliates), its auditors, its attorneys, its regulators
                              and its advisors; provided that, such parent companies, the Owner Participant,
                              Owner Participant's Affiliates, auditors, attorneys and advisors will be bound
                              by the provisions of this Clause;

                  (c)         each of Lessor and Lessee may make disclosure to the extent necessary to
                              enforce its rights and remedies under this Agreement;

                  (d)         Lessor may make disclosures to any Lender or any potential Lender and to
                              potential assignees and transferees and their respective auditors, attorneys and
                              advisers, so long as Lessor obtains an undertaking of confidentiality from such
                              persons on the terms substantially no less strict mutatis mutandis than this
                              Clause; or

                  (e)         each of Lessor and Lessee may disclose such information as is in the public
                              domain.

                  Notwithstanding the foregoing provisions of this Clause 20.17, each of Lessor and
                  Lessee (and any employee, representative, or agent of Lessor or Lessee) is expressly
                  authorized to disclose to any and all persons, without limitation of any kind, the U.S.
                  federal and state tax treatment and U.S. federal and state tax structure of the transactions
                  contemplated by this Agreement and the other Operative Documents, and all materials
                  of any kind (including opinions or other tax analyses, if any) that are provided to it
                  related to such tax treatment and tax structure.



          764623-4-294-v3.0                                 - 103 -                                   80-40703047
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 49 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 50 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 51 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023




                                    Exhibit 2
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                           INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE          Document 1-2        Filed 06/06/23 RECEIVED
                                                                                 Page 52 NYSCEF:
                                                                                         of 70   06/01/2023




                                   Non-Waiver & Preservation of Rights Agreement

               1. This Non-Waiver and Preservation of Rights Agreement (this “Agreement”) is
                  entered into by FRONTIER AIRLINES, INC. (“Frontier”) and ACCIPITER
                  INVESTMENT 4 LIMITED, VERMILLION AVIATION (TWO) LIMITED,
                  ACCIPITER HOLDINGS DAC, CARLYLE AVIATION MANAGEMENT
                  LIMITED, MAVERICK AVIATION HOLDINGS LTD., MANCHESTER
                  AVIATION FINANCE S.a.r.l., WELLS FARGO TRUST COMPANY, N.A., solely
                  in its capacity as OWNER TRUSTEE, and UMB BANK, N.A., solely in its capacity
                  as OWNER TRUSTEE, individually or collectively as the context may require,
                  “Carlyle”), and are referred to herein, individually as the “Party” and collectively as
                  the “Parties”.

               2. This Agreement applies to Lease Agreements (the “Lease Agreements”) for fourteen
                  aircraft currently leased to Frontier for use in its operations and one Airbus model
                  A320-214 aircraft bearing U.S. registration number N227FR which was redelivered
                  to its lessor on July 21, 2022 (collectively, the “Aircraft”), the related Operative
                  Documents (as defined in the Lease Agreements), and the other related documents and
                  agreements that affect the Lease Agreements and the parties’ respective rights and
                  responsibilities with respect to such leased Aircraft, and to certain transactions defined
                  in the Lawsuit as “the December 2021 Transaction” and the “Carlyle Transaction.”

               3. Frontier contends that Carlyle failed to comply with certain terms in the Lease
                  Agreements regarding the transfer of interests to Carlyle. Frontier has filed a lawsuit
                  captioned Frontier Airlines, Inc. v. AMCK Aviation Holdings Ireland Limited, et. al.,
                  USDC SDNY Case No. 1:22-cv-02943 (PAE) (“the Lawsuit”). Frontier’s Amended
                  Complaint in the Lawsuit seeks, among other things, a declaration that Frontier is not
                  deemed to have consented to certain transactions involving Carlyle and Carlyle-
                  related entities, and an order directing that Frontier is relieved of certain obligations
                  under the Lease Agreements until the December 2021 Transaction or the Carlyle
                  Transaction is unwound, plus reasonable attorneys’ fees and costs. Carlyle denies any
                  breach of the Leases and all other wrongful conduct, and opposes the relief requested
                  by Frontier.

               4. Despite the existence of the Lawsuit and the parties’ respective claims and defenses
                  asserted or potentially to be asserted therein, the Parties recognize the mutual
                  operational benefits to the Parties from cooperating with each other in good faith
                  regarding the day-to-day administration of the Lease Agreements and the Aircraft,
                  including, without limitation, paying and accepting rent, processing and administering
                  lease returns, Aircraft use reports, Aircraft registration renewals, Aircraft and record
                  inspections, insurance certificates, consents, lease amendments, aircraft/lease
                  financings, owner trustee and owner participant assignments and Aircraft sales (and
                  related transfers, notices and acknowledgments, replacement of lessor guarantees,
                  updated insurance certificates and matters ancillary thereto), warranty and insurance
                  claims, notices, and the like in accordance with the terms of the Lease Agreements
                  (“Lease Administration Activities”). Accordingly, the Parties hereby confirm that
                  they will continue to cooperate in good faith regarding all Lease Administration
                  Activities.

               5. The Parties also wish to ensure that any rights and defenses in connection with the
                  claims asserted in the Lawsuit that may have arisen for either Party will not be
                  waived or adversely affected by participating and cooperating in Lease
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                   INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE      Document 1-2      Filed 06/06/23 RECEIVED
                                                                           Page 53 NYSCEF:
                                                                                   of 70   06/01/2023




                  Administration Activities. Accordingly, unless otherwise agreed to in a writing
                  executed by the relevant Parties, no Party shall be treated as having waived any
                  contractual or extra contractual rights by engaging or participating in any Lease
                  Administration Activity during the term of this Agreement.

               6. The term of this Agreement shall begin April 13, 2022, and shall expire on the
                  earlier of July 1, 2024 or 30 days after either Party gives written notice of
                  termination.

               7. This Agreement is subject to New York law without application of conflict of law
                  principles.

               8. This Agreement may be signed in counterparts.
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                            INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE   Document 1-2     Filed 06/06/23 RECEIVED
                                                                       Page 54 NYSCEF:
                                                                               of 70   06/01/2023


           October 21, 2022
         Date                                        FRONTIER AIRLINES, INC.



         Date                                   ACCIPITER INVESTMENT 4 LIMITED

                                                _______________________________
                                                VERMILLION AVIATION (TWO) LIMITED

                                                _______________________________
                                                ACCIPITER HOLDINGS DAC

                                                __________________________________
                                                CARLYLE AVIATION MANAGEMENT
                                                LIMITED

                                                _________________________________
                                                MAVERICK AVIATION HOLDINGS LTD.

                                                _________________________________
                                                MANCHESTER AVIATION FINANCE
                                                S.a.r.l.,

                                                _________________________________
                                                WELLS FARGO TRUST COMPANY, N.A.,
                                                solely in its capacity as OWNER TRUSTEE

                                                _________________________________
                                                UMB BANK, N.A., solely in its capacity as
                                                OWNER TRUSTEE
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                            INDEX NO. 652599/2023
             Case
NYSCEF DOC. NO. 5 1:23-cv-04774-PAE   Document 1-2     Filed 06/06/23 RECEIVED
                                                                       Page 55 NYSCEF:
                                                                               of 70   06/01/2023




          October 21, 2022
         Date                                        FRONTIER AIRLINES, INC.



         Date                                   ACCIPITER INVESTMENT 4 LIMITED

                                                _______________________________
                                                VERMILLION AVIATION (TWO) LIMITED

                                                _______________________________
                                                ACCIPITER HOLDINGS DAC

                                                __________________________________
                                                CARLYLE AVIATION MANAGEMENT
                                                LIMITED

                                                _________________________________
                                                MAVERICK AVIATION HOLDINGS LTD.

                                                _________________________________
                                                MANCHESTER AVIATION FINANCE
                                                S.a.r.l.,

                                                _________________________________
                                                WELLS FARGO TRUST COMPANY, N.A.,
                                                solely in its capacity as OWNER TRUSTEE

                                                _________________________________
                                                UMB BANK, N.A., solely in its capacity as
                                                OWNER TRUSTEE
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 56 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023




               October 21, 2022
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 57 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023


               October 21, 2022
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 58 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023


             October 21, 2022
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 59 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023




                                    Exhibit 3
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                                            INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                          Document 1-2               Filed 06/06/23      Page 60 ofNYSCEF:
                                                                                                              RECEIVED   70     06/01/2023




                                 NOTICE OF SECURITY ASSIGNMENT                                               Commented [A1]: This document needs to be attached to
                                                                                                             the chattel mortgage if it is to be filed with the FAA against
      From: UMB BANK, NATIONAL ASSOCIATION, not in its individual capacity, but solely as                    the aircraft and/or Lease or if no chattel mortgage is filed
                                                                                                             against the aircraft at the FAA (e.g. where the OPs interest in
      owner trustee (the “Lessor”)”), and                                                                    the trust is being encumbered, the ownership of the OP is
                                                                                                             being encumbered or another higher ownership interest is
      UMB BANK, NATIONAL ASSOCIATION, not in its individual capacity, but solely as security                 being encumbered without an FAA filing) then it needs
                                                                                                             additional re-formatting to be a free standing document that
      trustee (the “Security Trustee”)                                                                       can and will be filed with the FAA at the effective time the
                                                                                                             Lessee’s acknowledgment of Lessor’s compliance with the
                                                                                                             CPs of the security assignment is met.
      To:    FRONTIER AIRLINES, INC. (the “Lessee”)”).

                                                                                         [________], 2023

      Dear Sirs

      We refer to the Aircraft Lease Agreement, dated as of September 30, 2019, between the Lessor
      and the Lessee (as assigned, supplemented and amended from time to time, the “Lease”) relating
      to one Airbus A320-251N aircraft with manufacturer’s serial number 9177[_____] and United
      States registration mark N359FR together with thetwo (2) CFM International Inc. model LEAP-
      1A26 engines described therein (the bearing manufacturer serial numbers [_____] and [_____]
      (collectively, the “Aircraft”). All terms defined in the Lease shall, unless the context otherwise
      requires, have the same meaning herein.

      Reference is also made to a Facility Agreement, dated as of April 11, 2022 (the “Facility
      Agreement”), between Maverick Aviation Holdings Ltd., as borrower (the “Borrower”),
      Carlyle Aviation Management Limited, as the servicer (the “Servicer”), UMB Bank, National
      Association, as the Security Trustee and the administrative agent (the “Administrative Agent”),
      and the lenders party thereto from time to time.

      We hereby notify you that:

       (1)    By a Security Agreement, dated as of April 11, 2022 (the “Security Agreement”),
              among, the Lessor, the Borrower, the Security Trustee, the Servicer and the other parties
              named therein as grantors, the Lessor shall assign to the Security Trustee, as security, all   Commented [A2]: Please list out the other current grantor
              of its rights, title and interest in, to and under the Lease and each of the other Operative   parties by name.
              Documents as defined in the Lease (the “Lease Documents”), effective as of the
              Effective Date, including certain insurance proceeds.

              The Lessor hereby notifies you in writing that the security assignment described in the
              foregoing sentence is effective as of the date hereof (the “Effective Date”).

              We attach a form of letter of quiet enjoyment from the Security Trustee as Appendix A
              and agree that we shall cause the Security Trustee to execute and deliver to you a letter of
              quiet enjoyment substantially in the form of Appendix A concurrently with delivery to
              you of this Notice.

       (2)    From and after the Effective Date, all monies that may be payable by you or on your
              behalf under the Lease Documents shall continue to be paid to the same account to which
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FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                                            INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                          Document 1-2               Filed 06/06/23        Page 61 ofNYSCEF:
                                                                                                                RECEIVED   70     06/01/2023




             under any applicable insurance or reinsurance), Indemnitees or Tax Indemnitees shall not,
             of itself, constitute an increase in Lessee’s financial obligations and (ii) such security
             assignment will not result in any restriction, based on applicable laws in effect at the time
             of the security assignment on your rights under the Lease or the other Lessee’s
             Documents or on your use or operation of the Aircraft.

             (6)     Lessor shall promptly pay or cause the Owner Participant to pay Lessee’s                  Formatted: Indent: Hanging: 0.01"
             reasonable and invoiced out-of-pocket costs and expenses incurred in connection with
             Lessee’s cooperation with Lessor in execution and delivery of this Notice and the related
             documentation, including reasonable legal fees. Lessee’s non-FAA counsel legal fees
             shall be paid directly by Lessor (or Owner Participant) to Lessee’s designated legal
             counsel.

             (7)      Each of the Lessor and the Security Trustee agrees, covenants, represents and            Formatted: Indent: Hanging: 0.01", Right: 0", Space
             warrants for the benefit of the Lessee that the security assignment transaction described         After: 11.45 pt
             hereunder (including any associated liens and encumbrances of Security Trustee)
             complies with the applicable terms and conditions of Clause 20.2(a) of the Lease and that
             such security assignment transaction shall not result in any restriction, based on the facts
             and circumstances existing and applicable laws in effect at the date hereof, onpursuant to
             Clause 20.2(a)(ii) Lessee’s rights under the Lease or the other Lessee’s Documents or on
             Lessee’s use or operation of the Aircraft, including (to the extent, if any, constituting
             Lessee’s rights under the Lease or the other Lessee’s Documents or Lessee’s use or
             operation of the Aircraft)but not limited to Lessee’s rights as plaintiff and a judgment
             creditor (as applicable) arising from or in connection with the pending lawsuits filed in
             U.S. District Court for the Southern District of New York as case numbers 1:22-cv-02943
             and 1:20-cv-09713 (the “Actions”), including, without limitation, Lessee’s right to collect
             and recover damages; provided that nothing herein shall constitute or be treated as a
             waiver of any contractual or extra contractual right or as a waiver of any right or defense
             by any person, trust or other entity in connection with either Action., including, without
             limitation, Lessee’s right to collect and recover damages, shall not be restricted or
             otherwise prejudiced as a result of such security assignment transaction. Any prejudice to
             or loss of priority of Lessee’s rights and interests as a judgement creditor as a result of the
             security assignment described herein shall be deemed a restriction to the Lessee’s rights
             under the Lease and other Lessee’s Documents. If any such restriction occurs, the Lessor
             and the Security Trustee shall immediately upon the request of the Lessee subordinate any
             liens, security interests, encumbrances and collection rights of the Security Trustee against
             property or assets, including, without limitation, against the Aircraft, the Lease
             Documents and monies held pursuant the Lease Documents, to the judgment creditor
             rights of the Lessee.

             (8)    Each of the Lessor and the Security Trustee acknowledge and confirm that the               Formatted: Indent: Hanging: 0.01"
             Notice of Security Assignment dated June 1, 2022 is hereby expressly revoked and shall
             have no further effect.

              Upon issuance, this Notice and the instructions herein contained shall become irrevocable
      until you receive notice in writing to the contrary from the Security Trustee. Please acknowledge
      receipt of this Notice on the Lessee Acknowledgment provide to you by us, it being provided
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FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                                    INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                        Document 1-2              Filed 06/06/23     Page 62 ofNYSCEF:
                                                                                                          RECEIVED   70     06/01/2023




      hereby that your signature on the Lessee Acknowledgment shall confirm your acknowledgment
      of, and agreement for the benefit of the Security Trustee that the Security Trustee shall not be
      bound by, nor have any liability for the performance of, any of our obligations under the Lease
      Documents unless expressly provided herein or expressly agreed to in writing by the Security
      Trustee. This Notice shall be governed by, and construed in accordance with, the laws of the
      State of New York.

                                    [signature page followspages follow]

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FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                  INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE       Document 1-2   Filed 06/06/23   Page 63 ofNYSCEF:
                                                                            RECEIVED   70     06/01/2023




       #4888-6484-9951v8#4888-6484-9951v1
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE      Document 1-2              Filed 06/06/23       Page 64 ofNYSCEF:
                                                                                          RECEIVED   70     06/01/2023




                                 Yours faithfully,

                                 For and on behalf of:
                                 UMB BANK, NATIONAL ASSOCIATION, not in
                                  its individual capacity but solely as Owner Trustee



                                 By: _____________________________
                                    Name:
                                    Title:




                                  UMB BANK, NATIONAL ASSOCIATION, not in
                                 its individual capacity but solely as Security Trustee



                                 By: _____________________________
                                    Name:
                                    Title:




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FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                         INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE      Document 1-2   Filed 06/06/23     Page 65 ofNYSCEF:
                                                                             RECEIVED   70     06/01/2023




       RECEIVED AND ACKNOWLEDGED:



       Frontier Airlines, Inc.



       By: _____________________________
         Name:
         Title:                                                            Commented [A3]: There is a separate acknowledgement
                                                                           document. It may be helpful to combine that document with
                                                                           this Notice to have one single document set.




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FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                              INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE   Document 1-2   Filed 06/06/23   Page 66 ofNYSCEF:
                                                                        RECEIVED   70     06/01/2023




                                    Exhibit 4
FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                                                    INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                                   Document 1-2             Filed 06/06/23     Page 67 ofNYSCEF:
                                                                                                                    RECEIVED   70     06/01/2023




              WELLS FARGO TRUST COMPANY, NATIONAL ASSOCIATION (F/K/A WELLS FARGO BANK
                                  NORTHWEST, NATIONAL ASSOCIATION)
                             not in its individual capacity, but solely as Owner Trustee
                                           as Assignor and Existing Lessor,

                                                             AND

                                                FRONTIER AIRLINES, INC.
                                                       as Lessee,

                                                             AND

                                                        UMB BANK, NA
                                   not in its individual capacity, but solely as Owner Trustee
                                                   as Assignee and New Lessor,

                                                             AND

                                   ACCIPITER INVESTMENTS AIRCRAFT 4 LIMITED
                                            as Existing Owner Participant,


                                                ACCIPITER HOLDINGS DAC
                                                          AND

                                                     as Existing Guarantor,

                                         MAVERICK AVIATION TL (D) LIMITED
                                              as New Owner Participant,                                           Formatted: Space After: 0 pt

                                                             AND

                                         MAVERICK AVIATION HOLDINGS LTD.
                                          as New Owner Participant Parent Assignor                                Formatted: Space After: 0 pt

                                                             AND

                                       MAVERICK AVIATION BORROWER 1 LTD.
                                              as New Parent Guarantor

                                                             AND

                                               ACCIPITER HOLDINGS, DAC
                                                  as Existing Guarantor                                           Formatted: Space After: 0 pt



                                              DATED AS OF __________, 2023



                                  MASTER ASSIGNMENT, ASSUMPTION, AMENDMENT,
                                  ACKNOWLEDGEMENT AND CONSENT AGREEMENT                                           Commented [A1]: This Agreement will need to be filed with the
                                                                                                                  FAA, so it will need to be in the proper form for filing. It is subject
                                                                                                                  to any comments by FAA counsel.




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FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                         INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                          Document 1-2       Filed 06/06/23   Page 68 ofNYSCEF:
                                                                                                   RECEIVED   70     06/01/2023




                                  Relating to One (1) Airbus A320-251N Aircraft
                                      Manufacturer's Serial Number [_____]
                                       U.S. Registration Number N[___]FR




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FILED: NEW YORK COUNTY CLERK 06/01/2023 04:26 PM                                                                                                                                             INDEX NO. 652599/2023
NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                                                                Document 1-2                                    Filed 06/06/23                    Page 69 ofNYSCEF:
                                                                                                                                                                                       RECEIVED   70     06/01/2023




                                                                    TABLE OF CONTENTS

                                                                                                                                                                            Page

       Section 1.      Definitions and Interpretation ............................................................................................................. 31
       Section 2.      Assignment and Lease Amendments .................................................................................................. 32
       Section 3.      Conditions Precedent .......................................................................................................................... 63
       Section 4.      Insurance ............................................................................................................................................. 64
       Section 5.      Rent ..................................................................................................................................................... 74
       Section 6.      Representations and Warranties .......................................................................................................... 75
       Section 7.      Effective Time..................................................................................................................................... 86
       Section 8.      Miscellaneous...................................................................................................................................... 86

       Schedule 1     – Lease AmendmentsDescription of Aircraft
       Schedule 2     –Description of Lease
       Schedule 3     Conditions Precedent
       Schedule 3     –4 Effective Time Certificate
       Schedule 4     – New5            Amended and Restated Guarantee
       Schedule 5     – 6      Instrument of Resignation and Succession of Owner Trustee and Amendment to Trust
                        Agreement
       Schedule 6     –7 Termination of Guarantee
       Schedule 7     – Certain Provisions [to be redacted for FAA filing]
       Exhibit A      – Aircraft Description
       Exhibit B      – Lease Description




        Carlyle Frontier - Form Lease                                                   i
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NYSCEF DOC. NO.Case
                5   1:23-cv-04774-PAE                                       Document 1-2                   Filed 06/06/23           Page 70 ofNYSCEF:
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                THIS           MASTER                   ASSIGNMENT,              ASSUMPTION,               AMENDMENT,
       ACKNOWLEGEMENTACKNOWLEDGEMENT AND CONSENT AGREEMENT (this “Agreement”) is
       dated as of _______________, 2023 and made by and among WELLS FARGO TRUST COMPANY, NATIONAL
       ASSOCIATION (f/k/a Wells Fargo Bank Northwest, National Association), a national banking association organized
       and existing under the laws of the United States, with its address at 299 South Main Street, 5th Floor, MAC:
       U1228-051, Salt Lake City, Utah 841119062 Old Annapolis Road, Columbia, MD 21045, not in its individual
       capacity, but solely as Owner Trustee (“Assignor” or “Existing Lessor”); and UMB BANK, N.A., a national banking
       association organized under the laws of the United States of America with its address at 6550 S. Millrock Drive, Suite
       150, Salt Lake City, UT 84121, not in its individual capacity, but solely as Owner Trustee (“Assignee” or “New
       Lessor”); and FRONTIER AIRLINES, INC., a Colorado corporation with its address at 4545 Airport Way, Denver,
       Colorado 80239 (“Lessee”)”); and ACCIPITER INVESTMENTS AIRCRAFT 4 LIMITED , an Irish, a [Ireland
       limited company] with its address at Connaught House 1 Burlington Road, Dublin 4, Ireland [∙] (“Existing Owner
       Participant”), ACCIPITER HOLDINGS DAC1”); and MAVERICK AVIATION TL (D) LIMITED, an Irish[Ireland
       limited company] with its address at Connaught House 1 Burlington Road, Dublin 4, Ireland (“Existing Guarantor”),
       MAVERICK AVIATION TL (D) LIMITED, an Irish limited company with its address at Connaught House 1
       Burlington Road, Dublin 4, Ireland[______________________________________] (“New Owner Participant”)”);
       and MAVERICK AVIATION BORROWER 1 LTD., a [Cayman Islands limited company] with its address at
       Connaught House 1 Burlington Road, Dublin 4, Ireland[_________________________________________] (“New
       Parent Guarantor”)”); and MAVERICK AVIATION HOLDINGS LTD., a [Cayman Islands limited company]
       (“New Owner Participant Parent Assignor”); and ACCIPITER HOLDINGS DAC, an Irish limited company
       (“Existing Guarantor”) with respect to the New Owner Participant Ownership Transfer.

                                                          BACKGROUND:

                  The purported transfer of the Aircraft and Lease (as such term is defined in Schedules 1 and 2 hereto)
                  contemplated hereunder is subsequent to the purported sale of aircraft assets by CK Capital (Hong Kong)
                  Limited and related entities to New Owner Participant Parent Assignor and related transactions (the
                  “Specified Transaction”), which Specified Transaction was not consented to by Lessee and is being
                  challenged by Lessee as novations conducted in violation of Clause 20.2 of the Lease and a fraudulent
                  conveyance to prevent Lessee from collecting any potential judgement under the Actions (as defined below).
                  Prior to the Specified Transaction, Lessee filed actions against Assignors, Existing Owner Participant, and
                  other affiliates to Existing Owner Participant for breach of contract, fraud and other claims arising from the
                  parties’ dealings in connection with contracts among the parties including the Lease and other “Operative
                  Documents” (as such term is defined in the Lease). As a result of these actions two cases are pending with
                  the U.S. District Court for the Southern District of New York (the “Court”) under case numbers 1:22-cv-
                  02943 and 1:20-cv-09713 (collectively, the “Actions,” each an “Action”).                                         Formatted: Font: Bold

       (A).       2
                   In the Action bearing case number 1:22-cv-02943, Lessee has sought determinations that (1) Lessee was
                  harmed by conduct by Assignor and other defendants and (2) that the Specified Transaction constitutes a
                  lessor default under the Lease and other Operative Documents and with respect to the Specified Transaction,
                  Lessee intends to seek an order declaring such novation as void and seek other available remedies. The named
                  defendants in the Actions deny wrongdoing. Lessee is entering into this Agreement as an accommodation to
                  Existing Owner Participant to facilitate daily operations of Lessor, but such accommodations by Lessee are
                  done without waiver of any rights, remedies or contentions relating to the Actions, including, without
                  limitation, Lessee’s challenge of the validity of the Specified Transaction, right to void the Specified
                  Transaction and right to recover damages from the defendants in the Actions.




       1   Note to LP: As discussed, we propose to have current guarantor confirm the current guarantee continues, which is
             in Section 2.4(a).
       2   Note to LP: As discussed, we have moved more express references to the litigation to Schedule 7.
